                 Case 20-12702-CSS              Doc 115         Filed 11/30/20       Page 1 of 50




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


                                                                   )

    In re:                                                         )     Chapter 11
                                                                   )
    NS8 INC.,1                                                     )     Case No. 20-12702 (CSS)
                                                                   )
                             Debtor.                               )
                                                                   )


     SCHEDULES OF ASSETS AND LIABILITIES FOR NS8 INC. (CASE NO. 20-12702)

                                                            




                                     
1
      The Debtor and the last four digits of its federal taxpayer identification number is as follows: NS8 Inc. (6056).
      The notice address for the Debtor is NS8 Inc., PO Box 34120, Las Vegas, NV 89133.



239045287
         v2
                 Case 20-12702-CSS              Doc 115        Filed 11/30/20        Page 2 of 50




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


                                                                   )

    In re:                                                         )     Chapter 11
                                                                   )
    NS8 INC.,2                                                     )     Case No. 20-12702 (CSS)
                                                                   )
                             Debtor.                               )
                                                                   )



                     GLOBAL NOTES, METHODOLOGY, AND SPECIFIC
                 DISCLOSURES REGARDING THE DEBTOR’S SCHEDULES OF
             ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

        NS8 Inc. (“NS8” or the “Company”) as debtor and debtor-in-possession (the “Debtor”) in
the above-captioned chapter 11 case (this “Case”), with the assistance of its advisors, have filed
its Schedules of Assets and Liabilities (the “Schedules”) and Statement of Financial Affairs (the
“Statement,” and together with the Schedules, the “Schedules and Statement”) with the United
States Bankruptcy Court for the District of Delaware (the “Court”), under section 521 of title 11
of the United States Code (the “Bankruptcy Code”), rule 1007 of the Federal Rules of Bankruptcy
Procedure and rule 1007-1 of the Local Rules of Bankruptcy Practice and Procedure of the Court.

         These Global Notes, Methodology, and Specific Disclosures Regarding the Debtor’s
Schedules of Assets and Liabilities and Statement of Financial Affairs (the “Global Notes”) pertain
to, are incorporated by reference in, and comprise an integral part of, the Debtor’s Schedules and
Statement. The Global Notes should be referred to, considered, and reviewed in connection with
any review of the Schedules and Statement.

        The Schedules and Statement do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor
are they intended to be fully reconciled with the financial statements of the Debtor. Additionally,
the Schedules and Statement contain unaudited information that is subject to further review and
potential adjustment and reflects the Debtor’s commercially reasonable efforts to report the assets
and liabilities of the Debtor on an unconsolidated basis.

        The Debtor and its agents, attorneys, and advisors do not guarantee or warrant the accuracy
or completeness of the data that is provided in the Schedules and Statement and shall not be liable
for any loss or injury arising out of, or caused in whole or in part by, the acts, errors, or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
                                     
2
      The Debtor and the last four digits of its federal taxpayer identification number is as follows: NS8 Inc. (6056).
      The notice address for the Debtor is NS8 Inc., PO Box 34120, Las Vegas, NV 89133.


                                                           2

             Case 20-12702-CSS         Doc 115      Filed 11/30/20    Page 3 of 50




communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtor and its agents, attorneys, and advisors expressly do not undertake
any obligation to update, modify, revise, or recategorize the information provided in the Schedules
and Statement, or to notify any third party should the information be updated, modified, revised,
or recategorized. In no event shall the Debtor or its agents, attorneys, and financial advisors be
liable to any third party for any direct, indirect, incidental, consequential, or special damages
(including damages arising from the disallowance of a potential claim against the Debtor or
damages to business reputation, lost business, or lost profits), whether foreseeable or not and
however caused, even if the Debtor or its agents, attorneys, and financial advisors are advised of
the possibility of such damages.

       Lee Sweigart, the Debtor’s Deputy Chief Restructuring Officer, has signed the Schedules
and Statement. Mr. Sweigart is an authorized signatory for the Debtor. In reviewing and signing
the Schedules and Statement, Mr. Sweigart necessarily has relied upon the efforts, statements, and
representations of various personnel employed by the Debtor and its advisors. Mr. Sweigart has
not (and could not have) personally verified the accuracy of each statement and representation
contained in the Schedules and Statement, including statements and representations concerning
amounts owed to creditors, classification of such amounts, and creditor addresses.






                                                3

                Case 20-12702-CSS              Doc 115       Filed 11/30/20        Page 4 of 50




                              Global Notes and Overview of Methodology

1.       Circumstances Giving Rise to the Case. As set forth in greater detail in the Declaration
         of Daniel P. Wikel, Chief Restructuring Officer of NS8 Inc. in Support of Chapter 11
         Petition and First Day Motions [Docket No. 9] (the “Wikel Declaration”), from NS8’s
         creation in 2016 until September 1, 2020, Adam Rogas (“Rogas”) served as the Debtor’s
         Chief Executive Officer, Chief Financial Officer, and as a member of its board of
         directors.3 In these capacities, Rogas was primarily responsible for the Company’s
         financial reporting and various fundraising initiatives.

         By June 2020, NS8 had obtained approximately $123 million in investor funds in the
         aggregate in connection with its Series A Round. Of these funds, approximately $72
         million were utilized to capitalize a tender offer in which early stage investors were
         provided the opportunity to redeem their equity interests in the Debtor. Rogas received
         $17.5 million in proceeds from that tender offer, personally and through a company he
         controlled.

         Unfortunately, it appears that the Series A Round was obtained by Rogas through deception
         and fraud. It is now clear that throughout NS8’s history, Rogas had intentionally and
         grossly overstated its revenue, gross margin, and the extent and profitability of NS8’s
         operations to current and prospective investors, the other members of the Company’s senior
         management team, the board of directors, and corporate partners.

         The overall financial impact to NS8 resulting from these alleged wrongdoings, including
         any potential incremental recovery of assets and any impact on related liabilities, is not yet
         fully captured in the Debtor’s books and records as of October 27, 2020 (the “Petition
         Date”). The Debtor’s books and records do not reflect, among other things, (i) cash
         proceeds from investigating and prosecuting various asset recovery claims (which is
         currently underway), including claims and causes of action arising under chapter 5 of the
         Bankruptcy Code against Rogas and other parties, and (ii) potential claims against NS8
         from defrauded Series A Round investors and other potential victims, which are anticipated
         to exceed $90 million.

2.       Reservation of Rights. The Debtor reserves all rights to: (i) amend or supplement the
         Schedules and Statement from time to time, in all respects, as may be necessary or
         appropriate, including4 the right to amend the Schedules and Statement with respect to the
         description or designation which any claim (“Claim”) or interest (“Interest”) is asserted

                                    
3
     Capitalized terms use but not defined herein shall have the meanings ascribed to them in the Wikel Declaration.
4
     The words “include,” “includes,” “including,” and variations thereof, shall not be deemed to be terms of
     limitation, and shall be deemed to be followed by the words “without limitation.”


                                                         4

           Case 20-12702-CSS          Doc 115       Filed 11/30/20     Page 5 of 50




     against the Debtor; (ii) dispute or otherwise assert offsets or defenses to any Claim reflected
     in the Schedules and Statement as to amount, liability, priority, status, or classification;
     (iii) subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” or
     (iv) object to the extent, validity, enforceability, priority, or avoidability of any Claim. Any
     failure to designate a Claim in the Schedules and Statement as “disputed,” “contingent,” or
     “unliquidated” does not constitute an admission by the Debtor that such Claim or amount
     is not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does not constitute an
     admission of liability by the Debtor against which the Claim is listed or against the Debtor.
     Furthermore, nothing contained in the Schedules and Statement shall constitute a waiver
     of rights with respect to this Case, including issues involving Claims, defenses, equitable
     subordination, and/or causes of action arising under the provisions of chapter 5 of the
     Bankruptcy Code and any other relevant non-bankruptcy laws to recover assets or avoid
     transfers. Any specific reservation of rights contained elsewhere in the Global Notes does
     not limit in any respect the general reservation of rights contained in this paragraph.
     Notwithstanding the foregoing, the Debtor shall not be required to update the Schedules
     and Statement.

3.   Accuracy. Although every effort has been made to file a complete and accurate Schedules
     and Statement, inadvertent errors or omissions may exist. The financial information
     disclosed herein was not prepared in accordance with federal or state securities laws or
     other applicable non-bankruptcy law or in lieu of complying with any periodic reporting
     requirements hereunder. Persons or entities trading in or otherwise purchasing, selling, or
     transferring Claims against, or Interests in, the Debtor should evaluate this financial
     information in light of the purposes for which it was prepared. The Debtor is not liable for,
     and undertakes no responsibility to indicate, variations between any information and
     reports prepared for securities law disclosure purposes or for any evaluations of the Debtor
     based on this financial information or any other information.

4.   Description of Case and “As Of” Information Date. On the Petition Date, the Debtor
     filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. No trustee
     or examiner has been appointed in this Case. The Debtor is operating its business as debtor-
     in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

     Unless otherwise noted, the Schedules and Statement reflect the Debtor’s books and
     records as of the close of business on Monday, October 26, 2020. As discussed above, the
     Petition Date is Tuesday, October 27, 2020. The first operating day of the postpetition
     period was Tuesday, October 27, 2020, although limited business was conducted on this
     date other than work by the Debtor’s professionals. Certain information is provided as of
     September 30, 2020, which was the last month-end closing prior to the Petition Date, but
     best estimates were used to reflect the value or activity through the Petition Date.



                                                5

           Case 20-12702-CSS          Doc 115      Filed 11/30/20     Page 6 of 50




5.   Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and
     an inefficient use of estate assets for the Debtor to obtain current market valuations for
     each of its assets on an individual-asset basis. Moreover, it is anticipated that the value of
     the remaining business and intellectual property, including two patents, will be determined
     in connection with the pending sale of the Debtor’s assets pursuant to the Order (I)
     Approving Certain Bidding Procedures and the Form and Manner of Notice Thereof, (II)
     Scheduling an Auction and a Hearing on the Approval of the Sale of All or Substantially
     All of the Debtor’s Assets, (III) Establishing Certain Assumption and Assignment
     Procedures and Approving Manner of Notice Thereof, (IV) Scheduling a Hearing to
     Approve Assumption and Assignment of the Assumed Contracts; and (V) Granting Related
     Relief [Docket No. 105] (the “Bid Procedures Order”).

     Accordingly, and as discussed above, unless otherwise indicated, the Debtor’s Schedules
     and Statement reflect net book values as of the close of business on October 26, 2020 or
     September 30, 2020, as applicable, in the Debtor’s books and records.

     Nonetheless, because the book value of certain assets may differ from their fair market
     values, they may be listed as undetermined amounts as of the Petition Date. Furthermore,
     as applicable, assets that have fully depreciated or were expensed for accounting purposes
     may not appear in the Schedules and Statement. Given the nature of the Debtor’s business,
     this has limited implications to the values presented.

     Claims of individual creditors are listed as the amounts entered on the Debtor’s books and
     records and may not reflect credits, allowances, or other adjustments due from such
     creditors to the Debtor. The Debtor reserves all of its rights respecting such credits,
     allowances, and other adjustments. Nothing in the Debtor’s Schedules and Statement shall
     be, or shall be deemed to be, an admission that the Debtor was solvent or insolvent as of
     the Petition Date.

     While the Debtor anticipates a material amount of cash proceeds to be generated through
     its investigation and recovery processes, these assets are currently unliquidated and not
     included in the Debtor’s balance sheet. As a result, these contingent assets are excluded
     from the Debtor’s Schedules.

6.   Recharacterization. Notwithstanding the Debtor’s commercially reasonable efforts to
     properly characterize, classify, categorize, or designate certain Claims, assets, executory
     contracts, unexpired leases, and other items reported in the Schedules and Statement, the
     Debtor may nevertheless have improperly characterized, classified, categorized,
     designated, or omitted certain items due to the complexity of the alleged wrongdoing of
     Rogas and impact to NS8. Accordingly, the Debtor reserves all of its rights to
     recharacterize, reclassify, recategorize, redesignate, add, or delete items reported in the
     Schedules and Statement at a later time as is necessary or appropriate as additional

                                               6

           Case 20-12702-CSS          Doc 115      Filed 11/30/20     Page 7 of 50




     information becomes available, including whether contracts or leases listed herein were
     deemed executory or unexpired as of the Petition Date and remain executory and unexpired
     postpetition. Disclosure of information in the Schedules or Statement, or one or more
     exhibits or attachments to the Schedules or Statement, even if incorrectly placed, shall be
     deemed to be disclosed in the correct Schedules, Statement, exhibits, or attachments.

7.   Liabilities. The Debtor has sought to allocate liabilities between the prepetition and
     postpetition periods based on the information and research conducted in connection with
     the preparation of the Schedules and Statement. As additional information becomes
     available and further research is conducted, the allocation of liabilities between the
     prepetition and postpetition periods may change. Accordingly, the Debtor reserves all of
     its rights to amend, supplement, or otherwise modify the Schedules and Statement as is
     necessary or appropriate.

     The liabilities listed on the Schedules do not reflect any analysis of Claims under section
     503(b)(9) of the Bankruptcy Code. Accordingly, the Debtor reserves all of its rights to
     dispute or challenge the validity of any asserted Claims under section 503(b)(9) of the
     Bankruptcy Code or the characterization of the structure of any such transaction or any
     document or instrument related to any creditor’s Claim. Given the nature of the Debtor’s
     business, this has limited implications to the values presented.

     Certain liabilities have been disclosed as contingent, unliquidated, and/or disputed in the
     Schedules. Examples of such liabilities include amounts potentially owed to entities
     controlled by insiders.

     As previously disclosed, potential claims against NS8 from defrauded Series A Round
     investors and other potential victims are not captured in the Debtor’s books and records as
     of the Petition Date and are therefore excluded from the Schedules.

8.   Excluded Assets and Liabilities. The Debtor has excluded certain categories of assets,
     tax accruals, and liabilities from the Schedules and Statement, including accrued salaries,
     employee benefit accruals, and accrued accounts payable. In addition, certain immaterial
     assets and liabilities may have been excluded.

     Certain liabilities resulting from accruals, liabilities recognized in accordance with GAAP,
     and estimates of long-term liabilities either are not payable at this time or have not yet been
     reported. Therefore, they do not represent specific claims as of the Petition Date and are
     not otherwise set forth in the Schedules and Statement. Additionally, certain assets with a
     net book value of zero are not included in the Debtor’s Schedules and Statement. Given
     the nature of the Debtor’s business, this has limited implications to the values presented.




                                               7

            Case 20-12702-CSS          Doc 115      Filed 11/30/20     Page 8 of 50




9.    Insiders. For purposes of the Schedules and Statement, the Debtor defines “insiders”
      pursuant to section 101(31) of the Bankruptcy Code as: (a) directors; (b) officers;
      (c) persons in control of the Debtor; (d) relatives of the Debtor’s directors, officers, or
      persons in control of the Debtor; and (e) Debtor/non-Debtor affiliates of the foregoing.
      Parties listed as “insiders” have been included for informational purposes only and by
      including them in the Schedules and Statements, shall not constitute an admission that
      those persons are insiders for purposes of section 101(31) of the Bankruptcy Code.
      Moreover, the Debtor did not take any position with respect to: (a) any insider’s influence
      over the control of the Debtor; (b) the management responsibilities or functions of any such
      insider; (c) the decision making or corporate authority of any such insider; or (d) whether
      the Debtor or any such insider could successfully argue that he or she is not an “insider”
      under applicable law or with respect to any theories of liability or for any other purpose.
      The listing of a party as an “insider” is not intended to be, nor should be construed as, a
      legal characterization of such party as an insider and does not act as an admission of any
      fact, Claim, right, or defense, and all such rights, Claims, and defenses are hereby expressly
      reserved.

      Additional insiders may be identified as the Debtor continues its investigation process in
      connection with the alleged wrongdoings. The inadvertent failure to designate a person as
      an insider in the Schedules and Statement shall not prejudice or prevent the Debtor from
      later designating such person as an insider and the Debtor reserves all applicable rights.

10.   Intellectual Property Rights. Exclusion of certain intellectual property shall not be
      construed as an admission that such intellectual property rights have been abandoned,
      terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
      acquisition, or other transaction.

11.   Executory Contracts. Although the Debtor made diligent attempts to identify potential
      executory contracts, in certain instances, the Debtor may have inadvertently failed to do so
      due to the nature of the business where most transactions with third parties occur
      electronically, in an automated manner and with automatic renewals. Accordingly, the
      Debtor reserves all of its rights with respect to the named parties of any and all executory
      contracts, including the right to amend Schedule G.

12.   Classifications. Listing (a) a Claim on Schedule D as “secured,” (b) a Claim on Schedule
      E/F as “unsecured,” or (c) a contract on Schedule G as “executory” or “unexpired,” does
      not constitute an admission by the Debtor of the legal rights of the claimant or a waiver of
      the Debtor’s rights to recharacterize or reclassify such Claims or contracts or to setoff of
      such Claims.

13.   Claims Description. Schedules D and E/F permit the Debtor to designate a Claim as
      “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on the

                                                8

            Case 20-12702-CSS          Doc 115      Filed 11/30/20     Page 9 of 50




      Schedules and Statement as “disputed,” “contingent,” or “unliquidated” does not constitute
      an admission by the Debtor that such amount is not “disputed,” “contingent,” or
      “unliquidated,” or that such Claim is not subject to objection. The Debtor reserves all of
      its rights to dispute, or assert offsets or defenses to, any Claim reflected on its respective
      Schedules and Statement on any grounds, including liability or classification.
      Additionally, the Debtor expressly reserves all of its rights to subsequently designate such
      Claims as “disputed,” “contingent,” or “unliquidated.” Moreover, listing a Claim does not
      constitute an admission of liability by the Debtor.

14.   Causes of Action. Despite commercially reasonable efforts to identify all known assets,
      the Debtor may not have listed all causes of action or potential causes of action against
      third parties as assets in the Schedules and Statement, including causes of actions arising
      under chapter 5 of the Bankruptcy Code and any other relevant nonbankruptcy laws to
      recover assets or avoid transfers. The Debtor reserves all of its rights with respect to any
      cause of action (including avoidance actions), controversy, right of setoff, cross claim,
      counterclaim, or recoupment and any claim on contracts or for breaches of duties imposed
      by law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation,
      liability, damage, judgment, account, defense, power, privilege, license, and franchise of
      any kind or character whatsoever, known, unknown, fixed or contingent, matured or
      unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,
      secured or unsecured, assertable directly or derivatively, whether arising before, on, or after
      the Petition Date, in contract or in tort, in law or in equity, or pursuant to any other theory
      of law (collectively, “Causes of Action”) it may have, and neither these Global Notes nor
      the Schedules and Statement shall be deemed a waiver of any claims or Causes of Action
      or in any way prejudice or impair the assertion of such claims or Causes of Action.

15.   Summary of Significant Reporting Policies. The following is a summary of significant
      reporting policies:

      x      Undetermined Amounts. The description of an amount as “unknown,” “TBD,” or
             “undetermined” is not intended to reflect upon the materiality of such amount.

      x      Totals. All totals that are included in the Schedules and Statement represent totals
             of all known amounts. To the extent there are unknown or undetermined amounts,
             the actual total may be different than the listed total.

      x      Paid Claims. The Debtor was authorized (but not directed) to pay certain
             outstanding prepetition Claims pursuant to various orders entered by the Court.
             Accordingly, certain outstanding liabilities that have been reduced by postpetition
             payments made on account of prepetition liabilities have been designated as either
             contingent or unliquidated. To the extent the Debtor pays any of the Claims listed
             in the Schedules and Statement pursuant to any orders entered by the Court, the
             Debtor reserves all of its rights to amend or supplement the Schedules and

                                                9

           Case 20-12702-CSS          Doc 115       Filed 11/30/20    Page 10 of 50




             Statement or take other action as is necessary or appropriate to avoid over-payment
             of, or duplicate payments for, any such liabilities.

      x      Liens. Property and equipment listed in the Schedules and Statement are presented
             without consideration of any liens that may attach (or have attached) to such
             property and equipment.

16.   Currency. Unless otherwise indicated, all amounts are reflected in U.S. Dollars.

17.   Setoffs. The Debtor periodically incurs certain setoffs in the ordinary course of business.
      Setoffs in the ordinary course can result from various items, including intercompany
      transactions, pricing discrepancies, returns, warranties, credits, refunds, negotiations,
      and/or disputes between the Debtor and its vendors, suppliers, or other counterparties.
      These normal setoffs are consistent with the ordinary course of business. Although such
      setoffs and other similar rights may have been accounted for when scheduling certain
      amounts, these ordinary course setoffs are not independently accounted for, and as such,
      are or may be excluded from the Debtor’s Schedules and Statement, except as specifically
      set forth herein.

18.   Employee Addresses. Employee addresses have been removed from entries listed
      throughout the Schedules and Statement, where applicable.

19.   Confidentiality. There may be instances within the Schedules and Statement where
      certain information was left blank or redacted due to the nature of an agreement between
      the Debtor and a third party, concerns about the confidential or commercially sensitive
      nature of certain information, or concerns for the privacy of an individual. The omissions
      or redactions will be limited to only what is necessary to protect the Debtor or a third party
      and will provide interested parties with sufficient information to discern the nature of the
      listing. The Debtor will provide copies of all redacted information to the Office of the U.S.
      Trustee upon request.

20.   Global Notes Control. In the event that the Schedules and Statement differ from these
      Global Notes, the Global Notes shall control.





                                               10

            Case 20-12702-CSS          Doc 115       Filed 11/30/20   Page 11 of 50




                 Specific Disclosures with Respect to the Debtor’s Schedules

Schedules A/B
Part 1, Question 3. The bank accounts listed are the Debtor’s primary operating accounts at
Silicon Valley Bank, revenue account at Bank of America and nominal cash balance with Chase
Bank. Details with respect to the Debtor’s cash management system and bank accounts are
provided in the Motion for Entry of Interim and Final Orders (I) Authorizing (A) Continued Use
of Existing Cash Management System, (B) Continued Use of Existing Bank Accounts, (C)
Continued Use of Existing Business Forms, (D) Continued Use of the Corporate Credit Card
Program, (E) Intercompany Transactions and Granting of Administrative Expense Status for
Postpetition Intercompany Claims, and (II) Granting Related Relief Filed By NS8 Inc. [Docket
No. 8] (the “Cash Management Motion”).

The Debtor excluded proceeds of $4,000,000 from the Initial DIP Loan which closed on October
30, 2020 and was funded by the DIP lender on November 2, 2020. Details with respect to the
Initial DIP Loan are provided in the Interim Order Pursuant to 11 U.S.C. §§ 105, 362, 363, 364,
503, and 507 (I) Authorizing the Debtor to Obtain Senior Secured Superpriority Postpetition
Financing; (II) Granting Liens and Superpriority Administrative Expense Claims; (III) Modifying
the Automatic Stay; (IV) Scheduling a Final Hearing; and (V) Granting Related Relief [Docket
No. 43] (the “Interim DIP Financing Order”).

Part 2, Question 7. The security deposit for the Las Vegas lease is in connection with an office
lease which was rejected pursuant to the Order Authorizing the Debtor to Reject Certain
Unexpired Leases Effective Nunc Pro Tunc to the Petition Date [Docket No. 97] (the “Lease
Rejection Order”). It is currently unclear how the Lease Rejection Order will impact the Debtor’s
ability to collect this deposit from the landlord.

Deposits for professional services may be applied to pay for work performed on a postpetition
basis subject to Court approval.

Part 2, Question 8. Prepayments are primarily related to technology subscriptions or licenses and
are not expected to be reimbursed to the Debtor.

Part 3, Question 10. The Debtor does not have unpaid accounts receivable with customers.
However, the Debtor is pursuing claims from third parties in connection with the alleged
wrongdoing discussed in Section 1 herein, which resulted in overpayments of revenue referral fees
to platform partners. The overpayments are excluded from the Schedules.

Part 7, Questions 38-41. The Debtor does not maintain a fixed asset register. The Debtor does
have certain audiovisual (A/V) equipment stored at two (2) third party storage facilities which are
not captured in the Schedules. The Debtor does anticipate monetizing these assets but does not
expect a material amount of proceeds (less than $50,000).

Part 10, Questions 60-64. As previously disclosed above, the Debtor anticipates selling its
intellectual property, technology platform and related business and tax attributes pursuant to the
Bid Procedures Order. The overall technology platform, which includes two patents, was created


                                                11

             Case 20-12702-CSS         Doc 115       Filed 11/30/20   Page 12 of 50




by the Debtor and is the foundation for the anti-fraud services it offers to merchants (NS8
customers) with e-commerce stores. Key functionality includes:

    x   Integrations with various e-commerce platforms where merchants transact;
    x   Order and campaign scoring metrics on each integrated platform; and
    x   Cloud based solution hosted on AWS.

The patents specifically provide for triangulation capabilities to determine consumer locations and
device movement activity while in session, enhancing fraud detection capabilities.

The Debtor has not listed its customer listing on Part 10, Question 63 for confidentiality reasons.

Part 11, Question 72. The Debtor anticipates possessing various tax attributes, including unused
net operating losses (NOLs), once the Debtor finalizes the tax return documentation and engages
in discussions with the IRS. While the final amount of the NOLs is currently unknown, the net
losses reflected in the Debtor’s restated income statements in 2019 and YTD September 2020 are
estimated to be ($19.3) million and ($34.1) million, respectively. The Debtor is continuing to work
with its forensic advisors and remaining financial employee to create restated financials from 2016
to current.

Part 11, Question 73.

When Rogas’ alleged wrongdoing was discovered, the Debtor had the following three (3) D&O
policies in place to cover losses arising from the acts or omissions of the Debtor’s directors and
officers:

    x   Policy 1: Scottsdale Indemnity Company - $2.0 million (the “Scottsdale Policy”);
    x   Policy 2: Argonaut Insurance Company - $3.0 Million (the “Argonaut Policy”); and
    x   Policy 3: Ironshore Indemnity Inc. - $5.0 Million (the “Ironshore Policy”).

Further detail on these policies can be found in the Debtor's Motion for Entry of Interim and Final
Orders (I) Authorizing Continuation of and Payment of Prepetition Obligations Incurred in the
Ordinary Course of Business in Connection with Various Insurance Policies, (II) Authorizing
Banks to Honor and Process Checks and Electronic Transfer Requests Related Thereto, and (III)
Granting Related Relief [Docket No. 6] (the “Insurance Motion”).

Under the terms of the Scottsdale Policy, as of November 11, 2020, approximately $1.6 million
(of the $2.0 million available under the Scottsdale Policy) has been disbursed for actual expenses
incurred by the Debtor in connection with lawsuits and investigations against Rogas, including
lawsuits filed by the Department of Justice (the “DOJ”) and the Securities and Exchange
Commission (the “SEC”) (see Global Notes for Part 3, Statement 7 below for additional
information). In some cases, Scottsdale directly reimbursed certain professionals assisting the
Debtor with the investigation work, including Crowell & Moring (investigations counsel), FTI
Consulting (forensics consulting services) and Elijah (digital forensics and IT). The Debtor
anticipates it will incur further expenses in connection with these investigations (and potential


                                                12

             Case 20-12702-CSS          Doc 115        Filed 11/30/20    Page 13 of 50




future claims filed, if applicable) and will seek reimbursement under the D&O policies of such
amounts.

In Question 73, given the ongoing nature of covered events, the Debtor listed the value of the
estimated remaining payouts under the policies as undetermined.

Part 11, Questions 74 and 75. In the ordinary course of business, the Debtor may have accrued,
or may subsequently accrue, certain rights to claims, counterclaims, cross-claims, setoffs, or
refunds with its suppliers or vendors. Additionally, the Debtor may be a party to pending litigation
in which the Debtor has asserted, or may assert, claims as a plaintiff or counterclaims and/or cross-
claims as a defendant. Because such claims are unknown to the Debtor and not quantifiable as of
the Petition Date, they are not listed on Schedule A/B.

Schedule D
The Debtor did not have secured debt as of the Petition Date. The Debtor excluded from Schedule
D the Initial DIP Loan of $4,000,000 which closed on October 30, 2020 and was funded by the
DIP lender on November 2, 2020. Details with respect to the Initial DIP Loan are provided in the
Interim DIP Financing Order.

The Debtor has not included parties that may believe their Claims are secured through setoff rights
or inchoate statutory lien rights.

Schedules E/F
The Court has authorized the Debtor, in its discretion, to pay certain liabilities that may be entitled
to priority under the applicable provisions of the Bankruptcy Code. For example, on November
18, 2020, the Court entered the Final Order Authorizing (I) Payment of Wages, Compensation and
Employee Benefits and (II) Financial Institutions to Honor and Process Checks And Transfers
Related To Such Obligations [Docket No. 95] authorizing the Debtor to pay or honor certain
prepetition obligations with respect to employee wages, salaries and other compensation,
reimbursable employee expenses and similar benefits. Additionally, on November 18, 2020, the
Court entered the Final Order (I) Authorizing, But Not Directing, the Debtor To Pay Certain
Prepetition Taxes [Docket No. 93], which allowed the Debtor to pay or honor certain prepetition
obligations owed to taxing authorities. To the extent such claims have been paid or may be paid
pursuant to Court order, they may not be included on Schedule E/F.

The Debtor used commercially reasonable efforts to report all general unsecured Claims against
the Debtor on Schedule E/F based upon the Debtor’s existing books and records as of the Petition
Date. The Claims of individual creditors for, among other things, products, goods, or services are
listed as either the lower of the amounts invoiced by such creditor or the amounts entered on the
Debtor’s books and records and may not reflect credits or allowances due from such creditors to
the applicable Debtor. The Debtor reserves all of its rights with respect to any such credits and
allowances, including the right to assert objections and/or setoffs with respect to the same.
Schedule E/F does not include certain deferred charges, deferred liabilities, accruals, or general
reserves. Such amounts are, however, reflected on the Debtor’s books and records as required in
accordance with GAAP. Such accruals are general estimates of liabilities and do not represent
specific Claims as of the Petition Date. The Debtor made every effort to include as contingent,

                                                  13

             Case 20-12702-CSS          Doc 115        Filed 11/30/20    Page 14 of 50




unliquidated, or disputed the Claim of any vendor not included on the Debtor’s open accounts
payable that is associated with an account that has an accrual or receipt not invoiced.

The Claims listed in Schedule E/F arose or were incurred on various dates. In certain instances,
the date on which a Claim arose is an open issue of fact. Determining the date upon which each
Claim in Schedule E/F was incurred or arose would be unduly burdensome and cost prohibitive
and, therefore, the Debtor does not list a date for each Claim listed on Schedule E/F.

While Schedule E/F includes unpaid rent obligations accrued as of the Petition Date, it may not
capture potential claims that may be filed in connection with the lease rejection.

Certain liabilities have been disclosed as contingent, unliquidated, and/or disputed in the
Schedules. Examples of such liabilities include amounts potentially owed to entities controlled by
insiders.

Schedule G
Although the Debtor’s existing books, records, and financial systems have been relied upon to
identify and schedule executory contracts of the Debtor and diligent efforts have been made to
ensure the accuracy of Schedule G, inadvertent errors, omissions, or over-inclusions may have
occurred. Certain information, such as the contact information of the counterparty, may not be
included where such information could not be obtained using the Debtor’s reasonable efforts. The
Debtor reserves all of its rights to alter, amend, or supplement Schedule G to the extent that
additional executory contracts are identified. Listing a contract or agreement on Schedule G does
not constitute an admission that such contract or agreement is an executory contract or unexpired
lease or that such contract or agreement was in effect on the Petition Date or is valid or enforceable.
The Debtor hereby reserves all of its rights to dispute the validity, status, or enforceability of any
contracts, agreements, or leases set forth on Schedule G and to amend or supplement Schedule G
as necessary. Certain of the leases and contracts listed on Schedule G may contain certain renewal
options, indemnifications, options to purchase, rights of first refusal, and other miscellaneous
rights. Such rights, powers, duties, and obligations are not set forth separately on Schedule G.

As is customary, the Debtor is party to various confidentiality and non-disclosure agreements in
the ordinary course. By their terms, certain of these agreements may prohibit the disclosure of
those agreements or the identity of the counterparty. The Debtor has therefore excluded
confidentiality or non-disclosure agreements from the applicable Schedule G. The Debtor reserves
all rights with respect to such agreements.

Certain of the contracts and agreements listed on Schedule G may consist of several parts,
including purchase orders, amendments, restatements, waivers, letters, and other documents that
may not be listed on Schedule G or that may be listed as a single entry. The Debtor expressly
reserves its rights to challenge whether such related materials constitute an executory contract, a
single contract or agreement or, multiple, severable, or separate contracts.

The contracts, agreements, and leases listed on Schedule G may have expired or may have been
modified, amended, or supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letters, memoranda, and other documents, instruments, and

                                                  14

             Case 20-12702-CSS          Doc 115       Filed 11/30/20    Page 15 of 50




agreements that may not be listed therein despite the Debtor’s use of reasonable efforts to identify
such documents. Portions of some contracts and leases that are listed on Schedule G may have
been fully performed, while other portions of the same contracts and leases may remain executory.
Further, unless otherwise specified on Schedule G, each executory contract or unexpired lease
listed therein shall include all exhibits, schedules, riders, modifications, declarations, amendments,
supplements, attachments, restatements, or other agreements made directly or indirectly by any
agreement, instrument, or other document that in any manner affects such executory contract or
unexpired lease, without respect to whether such agreement, instrument, or other document is
listed therein.

The presence of a contract or agreement on Schedule G does not constitute an admission that such
contract or agreement is an executory contract or unexpired lease. The Debtor reserves of all its
rights, claims and causes of action with respect to the contracts and agreements listed on Schedule
G, including the right to dispute or challenge the characterization or the structure of any
transaction, document, or instrument.





                                                 15

             Case 20-12702-CSS         Doc 115        Filed 11/30/20   Page 16 of 50




                 Specific Disclosures with Respect to the Debtor’s Statement

Part 1, Statement 1
The Debtor has undertaken a diligent process to retroactively revise its books and records through
the Petition Date to be reflective of valid transactions with customers while removing falsified
revenue transactions pursuant to Rogas’ alleged wrongdoing. The revenue metrics disclosed in
Statement 1 reflect these efforts. The Debtor reserves its rights to continue to revise its books and
records as the investigation of the wrongdoing continues.

Part 2, Statement 3
The information provided in Statement 3 shall not constitute a waiver of any of the Debtor’s rights
or an admission that the recipients of such payments or other transfers were “creditors” or that
amounts paid or otherwise transferred were due and owing.

Prior to the Petition Date, the Debtor used an automated, cloud-based platform, Bill.com, to
manage disbursements to suppliers. While the applicable disbursements to suppliers using
Bill.com are included in the exhibit to Statement 3, the Debtor disclosed the date it funded Bill.com
to make the payment which may be different than the date the supplier actual received the payment
and cleared the Bill.com-based check.

Domestic gross payroll related disbursements are disclosed as “TriNet”, which is the Debtor’s
payroll services provider for domestic employees. Applicable gross payments by individual
employees is not included in Statement 3.

Part 2, Statement 4
Payroll related payment details to individual employees that is contained in Statement 4 is based
on the gross payment amount.

Additional insiders may be identified as the Debtor continues its investigation process in
connection with the alleged wrongdoings.

As part of the investigation, the Debtor is currently reviewing corporate credit card activity for
Rogas and other insiders which were reimbursed by the Debtor. This credit card activity is not
captured in Statement 4 but remains subject to review by the Debtor for potential wrongdoing.

Part 3, Statement 7
Information provided in Statement 7 includes only those legal disputes and administrative
proceedings that are formally recognized by an administrative, judicial, or other adjudicative
forum. Additionally, any information contained in Statement 7 shall not be a binding admission
of the Debtor’s liabilities with respect to any of the legal proceedings identified therein. The
Debtor is not aware of any EEOC or workers compensation claims. As such, none have been
included in Statement 7.

The Debtor reserves all rights with respect to the proceeding set forth in Statement 7 and any
claims filed in relation to such proceedings.

The Debtor’s Statement 7 excludes the following legal actions filed directly against Rogas:
                                                 16

            Case 20-12702-CSS          Doc 115        Filed 11/30/20    Page 17 of 50




       DOJ proceeding against Rogas, USA v. Adam Rogas, 20-cr-00539 (S.D.N.Y.)

       The DOJ initially filed a complaint against Rogas in the United States District Court for
       the Southern District of New York on September 14, 2020, with the case number 20-mj-
       09794. Rogas was subsequently indicted by the grand jury in the Southern District of New
       York and the indictment was filed on October 13, 2020. Rogas pled not guilty to the
       indictment and the next pretrial court appearance is scheduled for December 1, 2020. The
       case is currently in the discovery phase and the court will likely set a trial date at the next
       court appearance.

       SEC proceeding against Rogas, U.S. Securities and Exchange Commission v. Adam
       P. Rogas, 20-cv-7628 (S.D.N.Y.)

       The complaint was filed by the SEC in the United States District Court for the Southern
       District of New York on September 17, 2020. The SEC issued an asset freeze and order
       and Rogas consented to the order. A summons and complaint were served on Rogas and
       his answer was due on November 16, 2020. As of the date of this report, Rogas has not
       responded to the summons and complaint.

The following is a description of other related legal activity that is also excluded from Statement
7:

       On December 2, 2019, NS8 received a subpoena from the SEC requesting documents and
       information related to NS8, including finances, revenue, taxes, fundraising and
       representations made to investors and potential investors.

       On December 4, 2019, NS8’s officers including Rogas, David Jarrick, and Tony Dawson
       received individual subpoenas from the SEC requesting similar documents and
       information.

       On March 13, 2020, NS8 received an additional subpoena from the SEC seeking
       documents and information related to certain employment-related allegations. Company
       officers and or/employees Rogas, David Jarrick, Tony Dawson, David Hansen and two
       other non-insider employees also received additional subpoenas from the SEC requesting
       similar documents and information.

       On September 23, 2020, NS8 received a subpoena from the SEC requesting documents and
       information related to the alleged fraud discussed in Section 1 herein, including
       compensation information for NS8 employees, former employees and consultants. The
       SEC also requested a capitalization table that reflected equity capitalization subsequent to
       the Company’s 2020 tender offer.

       On October 2, 2020, NS8 received a subpoena from the DOJ requesting documents and
       information related to Rogas’ alleged fraud, including all investments in NS8, reports
       related to NS8's revenue/assets, and all communications with investors or involving Rogas

                                                 17

             Case 20-12702-CSS          Doc 115       Filed 11/30/20    Page 18 of 50




       and relating to (i) NS8's revenue/assets, (ii) formation of any entity other than NS8, and
       (iii) Rogas' assets and financial transactions.

Part 13, Statement 26d
While multiple parties are currently under non-disclosure agreements (“NDAs”) in connection
with the Debtor’s initiatives to seek a sale of substantially all the Debtor’s assets, the Debtor has
not provided any historical financial statements to these parties. Due to the confidentiality
requirements of the NDAs, such parties are not listed in response to Statement 26d or Schedule G.

It is possible that prospective investors received financial information as part of the Series A Round
and other rounds of financing within two years prior of the Petition Date. The Debtor’s and Rogas’
communications to prospective investors is currently under careful review pursuant to the SEC
investigation process and is not reflected in Statement 26d.

Part 13, Statement 30
Distributions by the Debtor to its directors and officers are listed in response to Statement 4.




                                          *       *       *




                                                 18

                                   Case 20-12702-CSS                  Doc 115          Filed 11/30/20   Page 19 of 50

 Fill in this information to identify the case:

 Debtor name: NS8 Inc.

 United States Bankruptcy Court for the: District of Delaware
                                                                                                                        Check if this is an
 Case number: 20-12702
                                                                                                                        amended ¦ling


O¨cial Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 1. Schedule A/B: Assets - Real and Personal Property (O¨cial Form 206A/B)
  1a. Real property:                                                                                                                $0.00
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                                             $2,457,339.06
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                                               $2,457,339.06
          Copy line 92 from Schedule A/B


 2. Schedule D: Creditors Who Have Claims Secured by Property (O¨cial Form 206D)                                                    $0.00
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (O¨cial Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                                                             $0.00
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                                                      $582,265.21
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                                        $582,265.21
 Lines 2 + 3a + 3b
                                       Case 20-12702-CSS                  Doc 115           Filed 11/30/20             Page 20 of 50

   Fill in this information to identify the case:

   Debtor name: NS8 Inc.

   United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                         Check if this is an
   Case number: 20-12702
                                                                                                                                                         amended ¦ling


 O¨cial Form 206A/B
 Schedule A/B: Assets — Real and Personal Property 12/15
  Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
  debtor holds rights and powers exercisable for the debtor's own bene¦t. Also include assets and properties which have no book value, such as fully depreciated assets
  or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired
  Leases (O¨cial Form 206G).
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case
  number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
  attachment in the total for the pertinent part.
  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a ¦xed asset schedule or depreciation
  schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
  claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and Cash Equivalents

1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.

       Yes. Fill in the information below.



  All cash or cash equivalents owned or controlled by the debtor                                                                        Current value of debtor’s interest

 2. Cash on hand

 2.1                                                                                                                                                                    $0.00




 3. Checking, savings, money market, or ¦nancial brokerage accounts (Identify all)
 Name of institution (bank or brokerage ¦rm)                           Type of account                   Last 4 digits of account #


 3.1       Bank of America                                                  Revenue                      9829                                                       $6,117.37



 3.2       Silicon Valley Bank                                              Operating Checking           1141                                                     $65,783.00



 3.3       J.P. Morgan Chase                                                Checking                     1606                                                        $213.80



 3.4       Bank of America                                                  Revenue                      2984                                                           $0.00



 3.5       Signature Bank                                                   DIP Designated Acct          8958                                                           $0.00



 3.6       Signature Bank                                                   Liquidation Proceeds&HHY    8974                                                           $0.00



 4. Other cash equivalents (Identify all)
 4.1       N/A                                                                                                                                                          $0.00
Debtor     NS8 Inc._________________________________________________________________                Case number (if known) 20-12702________________________________________
           Name
                                        Case 20-12702-CSS                   Doc 115          Filed 11/30/20             Page 21 of 50
  5. Total of Part 1 ½ ½ ½
  Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                                                  $72,114.17



  Part 2:     Deposits and prepayments

  6. Does the debtor have any deposits or prepayments? ½ ½ ½

        No. Go to Part 3.

        Yes. Fill in the information below.



                                                                                                                                          Current value of debtor’s interest
  7. Deposits, including security deposits and utility deposits ½ ½ ½
  Description, including name of holder of deposit


  7.1       Blank Rome - Professional Fees                                                                                                                           $1,760.00



  7.2       Crowell & Moring LLP - Professional Fees                                                                                                                 $3,551.00



  7.3       FTI Consulting - Professional Fees                                                                                                                     $56,036.00



  7.4       LGC 231, LLC - Las Vegas O¨ce Rent Deposit                                                                                                             $75,784.73



  7.5       Stretto - Professional Fees                                                                                                                            $16,604.60



  7.6       Hafetz Necheles - Professional and Consultant Fees                                                                                                     $75,000.00



  7.7       Silicon Valley Bank - Collateral Account for Credit Card                                                                                               $30,000.00



  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent ½ ½ ½
  Description, including name of holder of prepayment


  8.1       SEE SCHEDULE A/B 8 ATTACHMENT                                                                                                                         $476,488.56



  9. Total of Part 2 ½ ½ ½
  Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                                                 $735,224.89



  Part 3:     Accounts receivable

  10. Does the debtor have any accounts receivable? ½ ½ ½

        No. Go to Part 4.

        Yes. Fill in the information below.



                                                                                                                                          Current value of debtor’s interest
  11. Accounts receivable ½ ½ ½
  11a.      90 days old or           N/A                                —                                           $    = ........                                     $0.00
            less:
                                     face amount                            doubtful or uncollectible accounts

  11b.      Over 90 days old:        N/A                                —                                           $    = ........                                     $0.00

                                     face amount                            doubtful or uncollectible accounts
Debtor   NS8 Inc._________________________________________________________________                  Case number (if known) 20-12702________________________________________
         Name
                                     Case 20-12702-CSS                      Doc 115          Filed 11/30/20            Page 22 of 50
  12. Total of Part 3 ½ ½ ½
  Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                                                      $0.00



  Part 4:    Investments

  13. Does the debtor own any investments? ½ ½ ½

     No. Go to Part 5.

     Yes. Fill in the information below.



                                                                                             Valuation method used for current          Current value of debtor’s interest
                                                                                             value
  14. Mutual funds or publicly traded stocks not included in Part 1 ½ ½ ½
  Name of fund or stock:


  14.1      N/A                                                                             N/A                                                                        $0.00



  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
  partnership, or joint venture ½ ½ ½
  Name of entity:                                           % of ownership:


  15.1      NS8 Holding B.V.                                   100%                         None                                       Undetermined



  15.2      NS8 B.V.                                           100%                         None                                       Undetermined



  16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1 ½ ½ ½
  Describe:


  16.1      N/A                                                                                                                                                        $0.00



  17. Total of Part 4 ½ ½ ½
  Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                                                      $0.00



  Part 5:    Inventory, excluding agriculture assets

  18. Does the debtor own any inventory (excluding agriculture assets)? ½ ½ ½

     No. Go to Part 6.

     Yes. Fill in the information below.



   General description                                          Date of         Net book value of          Valuation method used        Current value of debtor’s interest
                                                                the last        debtor's interest          for current value
                                                                physical        (Where available)
                                                                inventory
  19. Raw materials ½ ½ ½
  19.1      N/A                                                                                     $                                                                  $0.00



  20. Work in progress ½ ½ ½
  20.1      N/A                                                                                     $                                                                  $0.00



  21. Finished goods, including goods held for resale ½ ½ ½
Debtor     NS8 Inc._________________________________________________________________                   Case number (if known) 20-12702________________________________________
           Name
                                      Case 20-12702-CSS                         Doc 115         Filed 11/30/20            Page 23 of 50
  21.1         N/A                                                                                     $                                                                   $0.00



  22. Other inventory or supplies ½ ½ ½
  22.1         N/A                                                                                     $                                                                   $0.00



  23. Total of Part 5 ½ ½ ½
  Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                                                          $0.00



  24. Is any of the property listed in Part 5 perishable? ½ ½ ½

     No

     Yes


  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was ¦led? ½ ½ ½

         No
                     Book value                         $                Valuation method                                       Current value                                    $
         Yes


  26. Has any of the property listed in Part 5 been appraised by a professional within the last year? ½ ½ ½

     No

     Yes


  Part 6:       Farming and ¦shing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and ¦shing-related assets (other than titled motor vehicles and land)? ½ ½ ½

     No. Go to Part 7.

     Yes. Fill in the information below.



   General description                                                             Net book value of           Valuation method used        Current value of debtor’s interest
                                                                                   debtor's interest           for current value
                                                                                   (Where available)
  28. Crops—either planted or harvested ½ ½ ½
  28.1         N/A                                                                                     $                                                                   $0.00



  29. Farm animals Examples: Livestock, poultry, farm-raised ¦sh ½ ½ ½
  29.1         N/A                                                                                     $                                                                   $0.00



  30. Farm machinery and equipment (Other than titled motor vehicles) ½ ½ ½
  30.1         N/A                                                                                     $                                                                   $0.00



  31. Farm and ¦shing supplies, chemicals, and feed ½ ½ ½
  31.1         N/A                                                                                     $                                                                   $0.00



  32. Other farming and ¦shing-related property not already listed in Part 6 ½ ½ ½
  32.1         N/A                                                                                     $                                                                   $0.00



  33. Total of Part 6 ½ ½ ½
  Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                                                          $0.00
Debtor     NS8 Inc._________________________________________________________________                          Case number (if known) 20-12702________________________________________
           Name
                                           Case 20-12702-CSS                       Doc 115            Filed 11/30/20                 Page 24 of 50
  34. Is the debtor a member of an agricultural cooperative? ½ ½ ½

         No

         Yes. Is any of the debtor’s property stored at the cooperative?

                         No

                         Yes


  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was ¦led? ½ ½ ½

         No
                     Book value                            $            Valuation method                                                  Current value                                        $
         Yes


  36. Is a depreciation schedule available for any of the property listed in Part 6? ½ ½ ½

      No

      Yes


  37. Has any of the property listed in Part 6 been appraised by a professional within the last year? ½ ½ ½

      No

      Yes


  Part 7:       O¨ce furniture, ¦xtures, and equipment; and collectibles

  38. Does the debtor own or lease any o¨ce furniture, ¦xtures, equipment, or collectibles? ½ ½ ½

      No. Go to Part 8.

      Yes. Fill in the information below.



   General description                                                                Net book value of                Valuation method used            Current value of debtor’s interest
                                                                                      debtor's interest                for current value
                                                                                      (Where available)
  39. O¨ce furniture ½ ½ ½
  39.1         N/A                                                                                           $                                                                             $0.00




  40. O¨ce ¦xtures ½ ½ ½
  40.1         N/A                                                                                           $                                                                             $0.00




  41. O¨ce equipment, including all computer equipment and communication systems equipment and software ½ ½ ½
  41.1         N/A                                                                                           $                                                                             $0.00




  42. Collectibles Examples: Antiques and ¦gurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections; other
  collections, memorabilia, or collectibles ½ ½ ½

  42.1         N/A                                                                                           $                                                                             $0.00




  43. Total of Part 7 ½ ½ ½
  Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                                                         $0.00



  44. Is a depreciation schedule available for any of the property listed in Part 7? ½ ½ ½

      No

      Yes
Debtor    NS8 Inc._________________________________________________________________                      Case number (if known) 20-12702________________________________________
          Name
                                       Case 20-12702-CSS                       Doc 115            Filed 11/30/20               Page 25 of 50
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year? ½ ½ ½

     No

     Yes


  Part 8:    Machinery, equipment, and vehicles

  46. Does the debtor own or lease any machinery, equipment, or vehicles? ½ ½ ½

     No. Go to Part 9.

     Yes. Fill in the information below.



   General description                                                            Net book value of               Valuation method used          Current value of debtor’s interest
   Include year, make, model, and identi¦cation numbers (i.e., VIN,               debtor's interest               for current value
   HIN, or N-number)                                                              (Where available)
  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles ½ ½ ½
  47.1                                                                                                  $                                                                       $0.00
  N/A



  48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, §oating homes, personal watercraft, and ¦shing vessels ½ ½ ½
  48.1                                                                                                  $                                                                       $0.00
  N/A



  49. Aircraft and accessories ½ ½ ½
  49.1                                                                                                  $                                                                       $0.00
  N/A



  50. Other machinery, ¦xtures, and equipment (excluding farm machinery and equipment) ½ ½ ½
  50.1                                                                                                  $                                                                       $0.00
  N/A



  51. Total of Part 8. ½ ½ ½
  Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                                                               $0.00



  52. Is a depreciation schedule available for any of the property listed in Part 8? ½ ½ ½

     No

     Yes


  53. Has any of the property listed in Part 8 been appraised by a professional within the last year? ½ ½ ½

     No

     Yes


  Part 9:    Real Property

  54. Does the debtor own or lease any real property? ½ ½ ½

     No. Go to Part 10.

     Yes. Fill in the information below.
Debtor    NS8 Inc._________________________________________________________________                  Case number (if known) 20-12702________________________________________
          Name
                                      Case 20-12702-CSS                       Doc 115         Filed 11/30/20             Page 26 of 50
  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest ½ ½ ½
   Description and location of property                            Nature and extent of       Net book value of              Valuation method used      Current value of
   Include street address or other description such as             debtor’s interest in       debtor's interest              for current value          debtor’s interest
   Assessor Parcel Number (APN), and type of property              property                   (Where available)
   (for example, acreage, factory, warehouse,
   apartment or o¨ce building), if available.

  55.1       N/A                                                                                                     $                                                   $0.00



  56. Total of Part 9. ½ ½ ½
  Add the current value of all lines in question 55 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                                                        $0.00



  57. Is a depreciation schedule available for any of the property listed in Part 9? ½ ½ ½

     No

     Yes


  58. Has any of the property listed in Part 9 been appraised by a professional within the last year? ½ ½ ½

     No

     Yes


  Part 10:       Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property? ½ ½ ½

     No. Go to Part 11.

     Yes. Fill in the information below.



   General description                                                          Net book value of             Valuation method used       Current value of debtor’s interest
                                                                                debtor's interest             for current value
                                                                                (Where available)
  60. Patents, copyrights, trademarks, and trade secrets ½ ½ ½
  60.1       Patent - Patent #US 10,552,838                                    Undetermined                   None                       Undetermined



  60.2       Patent - Patent #US 10,592,922                                    Undetermined                   None                       Undetermined




  61. Internet domain names and websites ½ ½ ½
  61.1       https://www.ns8.com/en-us                                         Undetermined                   None                       Undetermined




  62. Licenses, franchises, and royalties ½ ½ ½
  62.1       N/A                                                                                    $                                                                       $0.00




  63. Customer lists, mailing lists, or other compilations ½ ½ ½
  63.1       N/A                                                                                    $                                                                       $0.00




  64. Other intangibles, or intellectual property ½ ½ ½
  64.1       Technology Platform                                               Undetermined                   None                       Undetermined




  65. Goodwill ½ ½ ½
Debtor    NS8 Inc._________________________________________________________________                   Case number (if known) 20-12702________________________________________
          Name
                                          Case 20-12702-CSS                  Doc 115           Filed 11/30/20                Page 27 of 50
  65.1       N/A                                                                                                                                                         $0.00




  66. Total of Part 10. ½ ½ ½
  Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                                                        $0.00



  67. Do your lists or records include personally identi¦able information of customers (as de¦ned in 11 U.S.C. §§ 101(41A) and 107)?

     No

     Yes


  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10? ½ ½ ½

     No

     Yes


  69. Has any of the property listed in Part 10 been appraised by a professional within the last year? ½ ½ ½

     No

     Yes


  Part 11:       All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form? ½ ½ ½
  Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.

     Yes. Fill in the information below.



                                                                                                                                          Current value of debtor’s interest
  71. Notes receivable ½ ½ ½
  Description (include name of obligor)
  71.1       N/A                                                         $                                               $   =                                          $0.00
                                                                                         -
                                               total face amount                             doubtful or uncollectible
                                                                                             amount



  72. Tax refunds and unused net operating losses (NOLs) ½ ½ ½
  Description (for example, federal, state, local)
  72.1       Internal Revenue Service Refund                                                          Tax year   2019-2020                                      $1,400,000.00



  72.2       State of California Refund                                                               Tax year   2019-2020                                         $96,000.00



  72.3       State of Michigan Refund                                                                 Tax year   2019-2020                                         $17,000.00



  72.4       State of Florida Refund                                                                  Tax year   2019-2020                                         $34,000.00



  72.5       State of Washington Excise Tax Refund                                                    Tax year   2020                                             $103,000.00
Debtor    NS8 Inc._________________________________________________________________                  Case number (if known) 20-12702________________________________________
          Name
                                          Case 20-12702-CSS                     Doc 115       Filed 11/30/20               Page 28 of 50

  73. Interests in insurance policies or annuities ½ ½ ½
  73.1       Various Corporate and D&O Coverages are in place                                                                           Undetermined




  74. Causes of action against third parties (whether or not a lawsuit has been ¦led) ½ ½ ½
  74.1       N/A                                                                                                                                                        $0.00

  Nature of Claim

  Amount requested                                                                                   $



  75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims ½ ½ ½
  75.1                                                                                                                                                                  $0.00

  Nature of Claim

  Amount requested                                                                                   $



  76. Trusts, equitable or future interests in property ½ ½ ½
  76.1                                                                                                                                                                  $0.00




  77. Other property of any kind not already listed Examples: Season tickets, country club membership ½ ½ ½
  77.1       N/A                                                                                                                                                        $0.00




  78. Total of Part 11. ½ ½ ½
  Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                                               $1,650,000.00



  79. Has any of the property listed in Part 11 been appraised by a professional within the last year? ½ ½ ½

     No

     Yes


  Part 12:       Summary

    In Part 12 copy all of the totals from the earlier parts of the form.

   Type of property                                                              Current value of              Current value of real
                                                                                 personal property             property

  80. Cash, cash equivalents, and ¦nancial assets. Copy line 5, Part 1. ½ ½ ½             $72,114.17


  81. Deposits and prepayments. Copy line 9, Part 2. ½ ½ ½                               $735,224.89


  82. Accounts receivable. Copy line 12, Part 3. ½ ½ ½                                          $0.00


  83. Investments. Copy line 17, Part 4. ½ ½ ½                                                  $0.00


  84. Inventory. Copy line 23, Part 5. ½ ½ ½                                                    $0.00


  85. Farming and ¦shing-related assets. Copy line 33, Part 6. ½ ½ ½                            $0.00


  86. O¨ce furniture, ¦xtures, and equipment; and collectibles. Copy                            $0.00
  line 43, Part 7. ½ ½ ½


  87. Machinery, equipment, and vehicles. Copy line 51, Part 8. ½ ½ ½                           $0.00
Debtor   NS8 Inc._________________________________________________________________                      Case number (if known) 20-12702________________________________________
         Name
                                         Case 20-12702-CSS                          Doc 115    Filed 11/30/20              Page 29 of 50
  88. Real property. Copy line 56, Part 9. ½ ½ ½                                                                               $0.00
                                                                                                         


  89. Intangibles and intellectual property.. Copy line 66, Part 10. ½ ½ ½                       $0.00


  90. All other assets. Copy line 78, Part 11. ½ ½ ½                                     $1,650,000.00


  91. Total. Add lines 80 through 90 for each column ½ ½ ½                   91a.                                          91b.
                                                                                        $2,457,339.06                                                         $0.00



  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ½ ½ ½
                                                                                                                                                                $2,457,339.06
                            Case 20-12702-CSS          Doc 115      Filed 11/30/20      Page 30 of 50
                                                SCHEDULE A/B 8 ATTACHMENT
                    Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

                                Description, including name of holder of prepayment              Current Value
                    Altus Partners Inc. - Prepaid Operating Expenses                                 $31,267.07
                    ChartHop, Inc. - Prepaid Operating Expenses                                       $3,325.00
                    Cloudingo - Prepaid Operating Expenses                                              $536.50
                    EShares - Prepaid Operating Expenses                                              $1,416.67
                    etailinsights - Prepaid Operating Expenses                                        $6,250.00
                    G2.com, Inc. - Prepaid Operating Expenses                                        $13,333.33
                    Gartner, Inc. - Prepaid Operating Expenses                                       $37,341.67
                    Keeper Security, Inc. - Prepaid Operating Expenses                                $4,635.50
                    Knak Inc. - Prepaid Operating Expenses                                            $1,556.40
                    KnowBe4 Inc. - Prepaid Operating Expenses                                         $1,740.00
                    Lattice - Prepaid Operating Expenses                                             $22,000.00
                    LeadIQ - Prepaid Operating Expenses                                               $2,691.33
                    LinkedIn Corporation - Prepaid Operating Expenses                                $19,591.16
                    Marketo, Inc-Marketing - Prepaid Operating Expenses                              $18,935.86
                    Mode Analytics - Prepaid Operating Expenses                                      $10,431.25
                    MongoDB Inc. - Prepaid Operating Expenses                                         $1,200.00
                    One Clipboard inc.- Prepaid Operating Expenses                                    $4,000.00
                    osCommerce-Marketing - Prepaid Operating Expenses                                 $2,811.65
                    PitchBook Data, Inc. - Prepaid Operating Expenses                                 $4,166.67
                    Pluralsight, LLC - Prepaid Operating Expenses                                     $8,485.83
                    PR Newswire-PR - Prepaid Operating Expenses                                       $2,943.00
                    Salesforce.com - Prepaid Operating Expenses                                      $68,278.78
                    SalesLoft - Prepaid Operating Expenses                                           $20,775.00
                    Salus Labs, Inc (dba Triplebyte) - Prepaid Operating Expenses                    $90,000.00
                    SAP - Prepaid Operating Expenses                                                 $11,339.04
                    SimilarWeb Inc - Prepaid Operating Expenses                                       $3,000.00
                    Slab Inc. - Prepaid Operating Expenses                                            $9,038.95
                    Snowflake Inc. - Prepaid Operating Expenses                                       $8,333.33
                    Tackle.io - Prepaid Operating Expenses                                           $22,905.00
                    Tracxn Technologies Private Limited - Prepaid Operating Expenses                  $3,552.50
                    Udemy, Inc. - Prepaid Operating Expenses                                         $19,339.78
                    United Health Group - Prepaid Operating Expenses                                  $5,000.00
                    Zoom Video Communications, Inc - Prepaid Operating Expenses                      $16,267.29


In re: NS8 Inc.
Case No. 20-12702                                           Page 1 of 1
                                        Case 20-12702-CSS                       Doc 115         Filed 11/30/20          Page 31 of 50

  Fill in this information to identify the case:

  Debtor name: NS8 Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                     Check if this is an
  Case number: 20-12702
                                                                                                                                                     amended ¦ling


O¨cial Form 206D
Schedule D: Creditors Who Have Claims Secured by Property
Be as complete and accurate as possible.

Part 1:     List Creditors Who Have Claims Secured by Property

1. Do any creditors have claims secured by debtor's property?

   No. Check this box and submit page 1 of this form to the court with debtor`s other schedules. Debtor has nothing else to report on this form.

   Yes. Fill in the information below.


2. List creditors who have secured claims.If a creditor has more than one secured claim, list the creditor
                                                                                                             Column A                       Column B
separately for each claim.
                                                                                                             Amount of Claim                Value of collateral that
                                                                                                             Do not deduct the value of     supports this claim
                                                                                                             collateral.

  2.1                                                   Describe debtor's property that is subject to
                                                        the lien:

           Date debt was incurred?
                                                        Describe the lien

           Last 4 digits of account number
                                                        Is the creditor an insider or related party?
                                                           No
           Do multiple creditors have an interest
           in the same property?                           Yes
               No                                       Is anyone else liable on this claim?
                                                           No
               Yes. Specify each creditor, including

          this creditor, and its relative priority.        Yes. Fill out Schedule H: Codebtors(O¨cial

                                                       Form 206H)
                                                        As of the petition ¦ling date, the claim is:
                                                        Check all that apply.
                                                             Contingent

                                                             Unliquidated

                                                             Disputed




3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
Page, if any.
                                    Case 20-12702-CSS                        Doc 115             Filed 11/30/20                Page 32 of 50

  Fill in this information to identify the case:

  Debtor name: NS8 Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                 Check if this is an
  Case number: 20-12702
                                                                                                                                                                 amended ¦ling


O¨cial Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal
Property (O¨cial Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (O¨cial Form 206G). Number the entries in Parts 1 and 2 in the boxes
on the left. If more space is needed for Part 1 or Part 2, ¦ll out and attach the Additional Page of that Part included in this form.

Part 1:    List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507). ½ ½ ½

    No. Go to Part 2.

    Yes. Go to line 2.


2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority unsecured
claims, ¦ll out and attach the Additional Page of Part 1. ½ ½ ½

                                                                                                                                Total claim                    Priority amount

 2.1                                                                      As of the petition ¦ling date, the claim is:                                $                          $0.00
                                                                          Check all that apply.
                                                                               Contingent
          Date or dates debt was incurred                                      Unliquidated

                                                                               Disputed
          Last 4 digits of account number
                                                                          Basis for the claim:

          Specify Code subsection of PRIORITY unsecured
          claim:                                                          Is the claim subject to offset?
          11 U.S.C. § 507(a) (½ ½)                                            No

                                                                              Yes



Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, ¦ll out and attach the
Additional Page of Part 2. ½ ½ ½

                                                                                                                                                                Amount of claim

 3.1                                                                                         As of the petition ¦ling date, the claim is:                                   $3,666.70
                                                                                             Check all that apply.
             Alain Mayer
                                                                                                 Contingent
             (Address Redacted)
                                                                                                 Unliquidated
          Date or dates debt was incurred
          N/A - As of the Petition Date                                                          Disputed

                                                                                             Basis for the claim:
                                                                                             Professional/Consulting Services

                                                                                             Is the claim subject to offset?
                                                                                                 No

                                                                                                 Yes
Debtor   NS8 Inc._________________________________________________________________       Case number (if known) 20-12702________________________________________
         Name
                                       Case 20-12702-CSS           Doc 115       Filed 11/30/20                 Page 33 of 50
   3.2                                                                        As of the petition ¦ling date, the claim is:                            $1,507.08
                                                                              Check all that apply.
                Amazon Capital Services, Inc.
                                                                                     Contingent
                PO Box 035184
                Seattle, WA 98124-5184 ½                                             Unliquidated

                                                                                     Disputed
           Date or dates debt was incurred
           N/A - As of the Petition Date                                      Basis for the claim:
                                                                              Trade

                                                                              Is the claim subject to offset?
                                                                                 No

                                                                                 Yes



   3.3                                                                        As of the petition ¦ling date, the claim is:                            $2,573.00
                                                                              Check all that apply.
                Anago
                                                                                     Contingent
                1600 East Desert Inn Road, Ste 250
                Las Vegas, NV 89169 ½                                                Unliquidated

                                                                                     Disputed
           Date or dates debt was incurred
           N/A - As of the Petition Date                                      Basis for the claim:
                                                                              Trade

                                                                              Is the claim subject to offset?
                                                                                 No

                                                                                 Yes



   3.4                                                                        As of the petition ¦ling date, the claim is:                            $2,724.60
                                                                              Check all that apply.
                Apple Computers - Corporate Account
                                                                                     Contingent
                PO Box 846095
                Dallas, TX 75284-6095 ½                                              Unliquidated

                                                                                     Disputed
           Date or dates debt was incurred
           N/A - As of the Petition Date                                      Basis for the claim:
                                                                              Trade

                                                                              Is the claim subject to offset?
                                                                                 No

                                                                                 Yes



   3.5                                                                        As of the petition ¦ling date, the claim is:                               $29.95
                                                                              Check all that apply.
                BigCommerce
                                                                                     Contingent
                11305 Four Points Drive Building II, Third Floor
                Austin, TX 78726 ½                                                   Unliquidated

                                                                                     Disputed
           Date or dates debt was incurred
           N/A - As of the Petition Date                                      Basis for the claim:
                                                                              Trade

                                                                              Is the claim subject to offset?
                                                                                 No

                                                                                 Yes
Debtor   NS8 Inc._________________________________________________________________       Case number (if known) 20-12702________________________________________
         Name
                                       Case 20-12702-CSS          Doc 115        Filed 11/30/20                 Page 34 of 50
   3.6                                                                        As of the petition ¦ling date, the claim is:                            $1,000.00
                                                                              Check all that apply.
                BWG Strategy
                                                                                     Contingent
                15 Maple Street, 3rd Floor
                Summit, NJ 07901½                                                    Unliquidated

                                                                                     Disputed
           Date or dates debt was incurred
           N/A - As of the Petition Date                                      Basis for the claim:
                                                                              Trade

                                                                              Is the claim subject to offset?
                                                                                 No

                                                                                 Yes



   3.7                                                                        As of the petition ¦ling date, the claim is:                            $1,380.00
                                                                              Check all that apply.
                cision US Inc
                                                                                     Contingent
                PO Box 417215
                Boston, MA 22241½                                                    Unliquidated

                                                                                     Disputed
           Date or dates debt was incurred
           N/A - As of the Petition Date                                      Basis for the claim:
                                                                              Trade

                                                                              Is the claim subject to offset?
                                                                                 No

                                                                                 Yes



   3.8                                                                        As of the petition ¦ling date, the claim is:                              $150.00
                                                                              Check all that apply.
                Crawford Door Sales of Nevada, LTD
                                                                                     Contingent
                6225 South Valley View Boulevard, Suite D
                Las Vegas, NV 89118                                                  Unliquidated

                                                                                     Disputed
           Date or dates debt was incurred
           N/A - As of the Petition Date                                      Basis for the claim:
                                                                              Trade

                                                                              Is the claim subject to offset?
                                                                                 No

                                                                                 Yes



   3.9                                                                        As of the petition ¦ling date, the claim is:                           $12,500.00
                                                                              Check all that apply.
                Crosby MarketWize Consulting
                                                                                     Contingent
                1549 Vine Street
                Belmont, CA 94002½                                                   Unliquidated

                                                                                     Disputed
           Date or dates debt was incurred
           N/A - As of the Petition Date                                      Basis for the claim:
                                                                              Professional/Consulting Services

                                                                              Is the claim subject to offset?
                                                                                 No

                                                                                 Yes
Debtor    NS8 Inc._________________________________________________________________       Case number (if known) 20-12702________________________________________
          Name
                                      Case 20-12702-CSS            Doc 115        Filed 11/30/20                 Page 35 of 50
   3.10                                                                        As of the petition ¦ling date, the claim is:                            $7,040.00
                                                                               Check all that apply.
                 e2y Limited
                                                                                      Contingent
                 Ntt House Waterfront Business Park, Fleet Road
                 Hampshire, ½GU51 3QT United Kingdom                                  Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.11                                                                        As of the petition ¦ling date, the claim is:                            $1,128.75
                                                                               Check all that apply.
                 Eide Bailly
                                                                                      Contingent
                 9139 West Russell Road, Suite 200
                 Las Vegas, NV 89148 ½                                                Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.12                                                                        As of the petition ¦ling date, the claim is:                              $306.00
                                                                               Check all that apply.
                 Employee Network Inc.
                                                                                      Contingent
                 1040 Vestal Parkway East
                 Vestal, NY 13850½                                                    Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.13                                                                        As of the petition ¦ling date, the claim is:                           $36,322.00
                                                                               Check all that apply.
                 Engineer Better
                                                                                      Contingent
                 125 Adams Drive
                 Ashford, ½TN24 0FX United Kingdom                                    Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes
Debtor    NS8 Inc._________________________________________________________________       Case number (if known) 20-12702________________________________________
          Name
                                          Case 20-12702-CSS        Doc 115        Filed 11/30/20                 Page 36 of 50
   3.14                                                                        As of the petition ¦ling date, the claim is:                           $10,834.73
                                                                               Check all that apply.
                 Fintechamps B.V.
                                                                                      Contingent
                 Prof. Hugo de Vrieslaan 82
                 Utrecht, ½3571 GK Netherlands                                        Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.15                                                                        As of the petition ¦ling date, the claim is:                           $22,500.00
                                                                               Check all that apply.
                 Fit for Commerce
                                                                                      Contingent
                 40 Highland Ave
                 Short Hills, NJ 07078½                                               Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.16                                                                        As of the petition ¦ling date, the claim is:                           $20,400.01
                                                                               Check all that apply.
                 Fivetran Inc
                                                                                      Contingent
                 405 14th Street, Suite 1100
                 Oakland, CA 94612½                                                   Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.17                                                                        As of the petition ¦ling date, the claim is:                            $1,963.50
                                                                               Check all that apply.
                 Greenhouse Software Inc.
                                                                                      Contingent
                 PO Box 392683
                 Pittsburgh, PA 15251-9683 ½                                          Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes
Debtor    NS8 Inc._________________________________________________________________       Case number (if known) 20-12702________________________________________
          Name
                                       Case 20-12702-CSS           Doc 115        Filed 11/30/20                 Page 37 of 50
   3.18                                                                        As of the petition ¦ling date, the claim is:                         $298,975.60
                                                                               Check all that apply.
                 Hansen Networks
                                                                                      Contingent
                 4255 Dean Martin Dr. Suite C
                 Las Vegas, NV 89103 USA                                              Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.19                                                                        As of the petition ¦ling date, the claim is:                           $13,932.00
                                                                               Check all that apply.
                 Jamf Software
                                                                                      Contingent
                 100 Washington Ave S., Suite 1100
                 Minneapolis, MN 55401                                                Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.20                                                                        As of the petition ¦ling date, the claim is:                              $400.00
                                                                               Check all that apply.
                 Kaul Infotyche Solutions LLP
                                                                                      Contingent
                 43 Residency Rd
                 WeWork                                                               Unliquidated
                 Bangalore, ½560038 India
                 ½                                                                    Disputed

                                                                               Basis for the claim:
            Date or dates debt was incurred                                    Trade
            N/A - As of the Petition Date
                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.21                                                                        As of the petition ¦ling date, the claim is:                           $27,395.00
                                                                               Check all that apply.
                 LGC 231, LLC
                                                                                      Contingent
                 c/o Sun Property Management
                 Attn: Susan Cotton                                                   Unliquidated
                 6140 Brent Thurman Way, Suite 140
                 Las Vegas, NV 89148½                                                 Disputed

                                                                               Basis for the claim:
            Date or dates debt was incurred                                    Landlord
            N/A - As of the Petition Date
                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes
Debtor    NS8 Inc._________________________________________________________________       Case number (if known) 20-12702________________________________________
          Name
                                       Case 20-12702-CSS           Doc 115        Filed 11/30/20                 Page 38 of 50
   3.22                                                                        As of the petition ¦ling date, the claim is:                              $100.00
                                                                               Check all that apply.
                 Master Care Pest Control
                                                                                      Contingent
                 1613 Mexican Poppy St.
                 Las Vegas, NV 89128½                                                 Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.23                                                                        As of the petition ¦ling date, the claim is:                           $12,274.57
                                                                               Check all that apply.
                 Oracle of America, Inc
                                                                                      Contingent
                 500 Oracle Parkway
                 Redwood Shores, CA 94065 ½                                           Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.24                                                                        As of the petition ¦ling date, the claim is:                           $29,988.00
                                                                               Check all that apply.
                 Paloalto Networks
                                                                                      Contingent
                 3000 Tannery Way
                 Santa Clara, CA 95054 ½                                              Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.25                                                                        As of the petition ¦ling date, the claim is:                           $10,919.45
                                                                               Check all that apply.
                 Paycore BV - Euro
                                                                                      Contingent
                 Pieter Kiesstraat 7
                 Haarlem, 2013 BC Netherlands                                         Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Professional/Consulting Services

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes
Debtor    NS8 Inc._________________________________________________________________       Case number (if known) 20-12702________________________________________
          Name
                                       Case 20-12702-CSS            Doc 115       Filed 11/30/20                 Page 39 of 50
   3.26                                                                        As of the petition ¦ling date, the claim is:                            $1,123.50
                                                                               Check all that apply.
                 Platinum Parking Company
                                                                                      Contingent
                 150 Second Ave North Ste. 50
                 St. Petersburg, FL 33701 ½                                           Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.27                                                                        As of the petition ¦ling date, the claim is:                            $1,600.00
                                                                               Check all that apply.
                 Reed Exhibitions Mexico S.A. de C.V.
                                                                                      Contingent
                 Edi¦cio Mapfre, Paseo de la Reforma 243, Piso 15
                 Mexico City, ½C.P. 06500 Mexico                                      Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.28                                                                        As of the petition ¦ling date, the claim is:                            $2,305.44
                                                                               Check all that apply.
                 SAP America, Inc.
                                                                                      Contingent
                 3999 West Chester Pike
                 Newtown Square, PA 19073 ½                                           Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.29                                                                        As of the petition ¦ling date, the claim is:                            $5,000.00
                                                                               Check all that apply.
                 Sevans Strategy
                                                                                      Contingent
                 11060 Village Ridge Lane
                 Las Vegas, NV 89135 ½                                                Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes
Debtor    NS8 Inc._________________________________________________________________       Case number (if known) 20-12702________________________________________
          Name
                                      Case 20-12702-CSS            Doc 115        Filed 11/30/20                 Page 40 of 50
   3.30                                                                        As of the petition ¦ling date, the claim is:                               $32.06
                                                                               Check all that apply.
                 Sparkletts (159)
                                                                                      Contingent
                 PO Box 660579
                 Dallas, TX 75266-0579½                                               Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.31                                                                        As of the petition ¦ling date, the claim is:                            $2,611.47
                                                                               Check all that apply.
                 State of Nevada Department of Taxation
                                                                                      Contingent
                 500 East Third Street
                 Carson City, NV 89713-0030½                                          Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.32                                                                        As of the petition ¦ling date, the claim is:                           $17,680.38
                                                                               Check all that apply.
                 System3 B.V.
                                                                                      Contingent
                 Oudezijds Achterburgwal 237
                 Amsterdam, ½1012 DL Netherlands                                      Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Trade

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.33                                                                        As of the petition ¦ling date, the claim is:                            $9,329.89
                                                                               Check all that apply.
                 WeWork - Amsterdam
                                                                                      Contingent
                 Weesperstraat 61-105
                 Amsterdam, AM 1018VN Netherlands                                     Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Landlord

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes
Debtor    NS8 Inc._________________________________________________________________       Case number (if known) 20-12702________________________________________
          Name
                                      Case 20-12702-CSS            Doc 115        Filed 11/30/20                 Page 41 of 50
   3.34                                                                        As of the petition ¦ling date, the claim is:                            $3,071.97
                                                                               Check all that apply.
                 WeWork - Melbourne Australia
                                                                                      Contingent
                 401 Collins Street
                 Melbourne, VIC 03000 Australia                                       Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Landlord

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.35                                                                        As of the petition ¦ling date, the claim is:                            $9,927.08
                                                                               Check all that apply.
                 WeWork - Miami
                                                                                      Contingent
                 360 NW 27th Street
                 Miami, FL 33127 ½                                                    Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Landlord

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.36                                                                        As of the petition ¦ling date, the claim is:                            $4,416.00
                                                                               Check all that apply.
                 WeWork - San Francisco
                                                                                      Contingent
                 3001 Bishop Drive
                 San Ramon, CA 94583 ½                                                Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Landlord

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes



   3.37                                                                        As of the petition ¦ling date, the claim is:                            $4,536.48
                                                                               Check all that apply.
                 WeWork - Singapore
                                                                                      Contingent
                 15 Beach Road, 2nd Floor
                 Singapore, ½ Singapore                                               Unliquidated

                                                                                      Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                      Basis for the claim:
                                                                               Landlord

                                                                               Is the claim subject to offset?
                                                                                  No

                                                                                  Yes
Debtor    NS8 Inc._________________________________________________________________                     Case number (if known) 20-12702________________________________________
          Name
                                         Case 20-12702-CSS                   Doc 115            Filed 11/30/20                Page 42 of 50
   3.38                                                                                     As of the petition ¦ling date, the claim is:                                    $620.00
                                                                                            Check all that apply.
                 Zoom Video Communications, Inc.
                                                                                                 Contingent
                 55 Almaden Boulevard, Suite 600
                 San Jose, CA 95113 ½                                                            Unliquidated

                                                                                                 Disputed
            Date or dates debt was incurred
            N/A - As of the Petition Date                                                   Basis for the claim:
                                                                                            Trade

                                                                                            Is the claim subject to offset?
                                                                                                No

                                                                                                Yes



  Part 3:    List Others to Be Noti¦ed About Unsecured Claims

  4. List in alphabetical order any others who must be noti¦ed for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of claims
  listed above, and attorneys for unsecured creditors. ½ ½ ½

  If no others need to be noti¦ed for the debts listed in Parts 1 and 2, do not ¦ll out or submit this page. If additional pages are needed, copy the next page.
   Name and mailing address                                                                     On which line in Part 1 or Part 2 is the related              Last 4 digits of
                                                                                                creditor (if any) listed?                                     account number, if any

   4.1.                                                                                        Line



                                                                                                      Not listed. Explain




  Part 4:    Total Amounts of the Priority and Nonpriority Unsecured Claims

  5. Add the amounts of priority and nonpriority unsecured claims. ½ ½ ½
                                                                                                                                              Total of claim amounts

  5a. Total claims from Part 1                                                                                                        5a.                                     $0.00

  5b. Total claims from Part 2                                                                                                        5b.                              $582,265.21

  5c. Total of Parts 1 and 2                                                                                                          5c.
                                                                                                                                                                      $582,265.21
  Lines 5a + 5b = 5c.
                                    Case 20-12702-CSS                   Doc 115           Filed 11/30/20              Page 43 of 50

  Fill in this information to identify the case:

  Debtor name: NS8 Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                      Check if this is an
  Case number: 20-12702
                                                                                                                                                      amended ¦ling


O¨cial Form 206G
Schedule G: Executory Contracts and Unexpired Leases
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

Schedule G:    Executory Contracts and Unexpired Leases

1. Does the debtor have any executory contracts or unexpired leases? ½ ½ ½

   No. Check this box and ¦le this form with the court with the debtor’s other schedules. There is nothing else to report on this form.

   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (O¨cial Form 206A/B).



 2. List all contracts and unexpired leases ½ ½ ½                                         State the name and mailing address for all other parties with whom the debtor
                                                                                          has an executory contract or unexpired lease

2.1     State what the contract        SEE SCHEDULE G ATTACHMENT
        or lease is for and the
        nature of the debtor’s
        interest
        State the term
        remaining
        List the contract number
        of any government
        contract
                                                     Case 20-12702-CSS                       Doc 115               Filed 11/30/20
                                                                                               SCHEDULE G ATTACHMENT
                                                                                                                                                  Page 44 of 50
                                                                                          Executory Contracts and Unexpired Leases


         Remainder
          of Term
   ID      (Days)             Notice Party's Name                         Address 1                                     Address 2                 City     State       ZIP        Country                  Email
 2.001    Unknown 28o3                                 (Unknown)                                                                                                                              info@28o3.com
 2.002    Unknown 3 Pillar Global, Inc.                Kevin C. Golden, General Counsel                    3975 Fair Ridge Drive        Fairfax            VA      22033        US
 2.003    Unknown 4You Accountancy                     25 Maerten Trompstraat                                                           Delft                      2628 RC      Netherlands
                                                                                                           Hicom Glenmarie Industrial
 2.004   Unknown    9to9 Malaysia                      Wisma Sulisam, No 5, Jalan Pemaju U1/15             Park Shah Alam               Selangor                   40150        Malaysia
 2.005   Unknown    9to9 Online                        Jl. Imam Bonjol Baru No. 7 Blok RTN 03              Karawaci                     Tangerang                  15115        Indonesia
 2.006   Unknown    A2Z Ozone                          1844 Cargo Court                                                                 Louisville         KY      40299        US
 2.007   Unknown    A5SneakersUK                       1803 W. Detweiller Drive                                                         Peoria             IL      61615        US
 2.008   Unknown    AIME Apparel                       (Unknown)                                                                                                                              website@aimementoring.com
 2.009   Unknown    Air Purifiers America APA          2929 Longhorn Blvd Ste 103                                                       Austin             TX      78758        US
 2.010   Unknown    Akira Beauty                       1160 Battery Street East                            Suite 100                    San Francisco      CA      94111        US
 2.011   Unknown    Alencorp                           9200 Waterford Centre Blvd., Suite 600                                           Austin             TX      78758        US
 2.012   Unknown    Alfa Vitamins Store                4701 NW 77th Avenue                                                              Miami              FL      33166        US
 2.013   Unknown    Alife                              158 Rivington St                                                                 New York           NY      10002        US
 2.014   Unknown    All Africa Imports                 611 Rose Hill Road                                                               Bethel Springs     TN      38315        US
 2.015   Unknown    Amazon AWS                         410 Terry Ave. North                                                             Seattle            WA      98109        US
 2.016   Unknown    Amgrace                            78 Regent Street                                                                 Leamington Spa             CV32 4NS     UK
 2.017   Unknown    Apria                              26220 Enterprise Ct                                                              Lake Forest        CA      92630        US
 2.018   Unknown    Apria Healthcare Group Inc         Attn Erica Wease                                    6050 Sprint Parkway          Overland Park      KS      66211        US
 2.019   Unknown    Archipel Tax Advice                Lange Voorhout 86-2                                                              EJ Den Haag                02514        Netherlands
 2.020   Unknown    Avier Food Manufacturing           (Unknown)                                                                                                                              tjiahui30@gmail.com
 2.021   Unknown    Awara Sleep                        340 S Lemon Ave #9599                                                            Walnut             CA      91789        US
 2.022   Unknown    Azraels Armoury                    Unit 6, 36-38                                                                    Arundel            QLD     04214        Australia
                                                                                                                                        San Juan
 2.023   Unknown    Baja Racing Gear                   32981 Calle Perfecto                                                             Capistrano         CA      92675        US
 2.024   Unknown    BargainJunkie                      1536 1st St,                                                                     Newton Falls       OH      44444        US
 2.025   Unknown    BelanJadapur                       Belanja Dapur Head Office, Jalan Cikini II No 8A    Mengten                      Jakarta                    10330        Indonesia
 2.026   Unknown    ben@b-mobile.ch                    (Unknown)                                                                                                                              ben@b-mobile.ch
 2.027   Unknown    BigCommerce Inc                    11305 4 Points Drive                                Building II, Third Floor     Austin             TX      78726        US
 2.028   Unknown    BijouKitty                         (Unknown)                                                                                                                              bijoukittyplush@cox.net
 2.029   Unknown    Bill.com                           1800 Embarcadero                                                                 Palo Alto          CA      94303        US
 2.030   Unknown    Bison Tactical                     2041 Broadway FL2                                                                Boulder            CO      80302        US
 2.031   Unknown    Blank Rome                         1201 Market Street                                  Suite 800                    Wilmington         DE      19801-2535   US
 2.032   Unknown    BNE Marketplace                    11 The Circuit                                                                   Brisbane                   04008        Australia
 2.033   Unknown    BohoPink                           3030 Highway 9                                                                   Old Bridge         NJ      08857        US
 2.034   Unknown    Boogie Board                       343 Portage Blvd                                                                 Kent               OH      44240        US
 2.035   Unknown    brendan@brave.com                  (Unknown)                                                                                                                              brendan@brave.com
 2.036   Unknown    British Interiors                  17-18 The Hives                                     Mosley Road Trafford Park    Manchester                 M171HQ       UK
 2.037   Unknown    Café Du Monde                      800 Decatur Street                                                               New Orleans        LA      70116        US
                                                                                                           147 quai du Président        Issy-les-
 2.038   Unknown    Capgemini Technology Services      Attn: Philippe Keraël                               Roosevelt                    Moulineaux                 92130        France
 2.039   Unknown    caseknives.com                     W.R. Case & Sons Cutlery Co                         PO Box 4000                  Bradford           PA      16701        US
 2.040   Unknown    Characters Co                      (Unknown)                                                                                                                              jeffrey@charactersco.com
 2.041   Unknown    Charthop Inc                       Attn Ian White                                      144 N 7th St #320            Brooklyn           NY      11249        US
 2.042   Unknown    Cheap CSGO Accs                    (Unknown)                                                                                                                              princify@protonmail.com
 2.043   Unknown    CircleCI                           201 Spear St Ste 12                                                              San Francisco      CA      94105        US
 2.044   Unknown    Coan Racing                        2277 E North St                                                                  Kokomo             IN      46901        US
 2.045   Unknown    Codelegal B.V.                     Lange Voorhout 11                                                                EA DEN Haag                2514         Netherlands
 2.046   Unknown    Contentful                         101 Montgomery Street Suite 2050                                                 San Francisco      CA      94104        US
 2.047   Unknown    Cooley LLP                         11951 Freedom Drive                                                              Reston             VA      20190        US
 2.048   Unknown    Cornerstone Communications LTD     241 W Charleston Blvd                                                            Las Vegas          NV      89102        US
 2.049   Unknown    Cox Comunications                  6205 Peachtree Dunwoody Road                                                     Atlanta            GA      30328        US
 2.050   Unknown    Craft Cellars                      1345 32 Avenue Northeast                                                         Calgary            AB      T2E7Z5       Canada
 2.051   Unknown    CRAZE Vapor Wholesale              414 N. Commerce St                                                               Burleson           TX      76028        US
 2.052   Unknown    Crosby MarketWize Consulting       Frederick Crosby                                    1549 Vine St                 Belmont            CA      94002        US
 2.053   Unknown    Crowell                            P.O. Box 75509                                                                   Baltimore          MD      21275-5509   US
 2.054   Unknown    Cue Anthony Racing                 12575 Beatrice Street, #C15                                                      Los Angeles        CA      90066        US
 2.055   Unknown    Dean McDonald                      Address Redacted
 2.056   Unknown    Death Wish Coffee Co               260 Broadway                                                                     Saratoga Springs   NY      12866        US
 2.057   Unknown    Deloitte Tax LLP                   555 West 5th Street, Suite 2700                                                  Los Angeles        CA      90013-1010   US
 2.058   Unknown    Denpasoft                          14777 Carmenita Rd                                                               Norwalk            CT      90650        US


In re: NS8 Inc.
Case No. 20-12702                                                                                         Page 1 of 5
                                                           Case 20-12702-CSS                       Doc 115           Filed 11/30/20
                                                                                                    SCHEDULE G ATTACHMENT
                                                                                                                                                 Page 45 of 50
                                                                                               Executory Contracts and Unexpired Leases


         Remainder
          of Term
   ID      (Days)               Notice Party's Name                               Address 1                                Address 2               City        State       ZIP        Country                  Email
 2.059    Unknown    DermaFlash                              25982 Town Centre Dr                                                          Foothill Ranch     CA       92610        US
 2.060    Unknown    djsboardshop                            5337 Fremont Ave S.                                                           Minneapolis        MN       55419        US
 2.061    Unknown    Dollar Plus Global                      2915 Losee Rd, Unit 104                                                       North Las Vegas    NV       89030        US
 2.062    Unknown    Duck Duck Go                            20 Paoli Pike                                                                 Paoli              PA       19301        US
 2.063    Unknown    Dulces Colibri                          UNIINTEN, 912 E. 12th St STE B-157                                            Los Angeles        CA       90021        US
 2.064    Unknown    Easy CPAP                               PO BOX1026                                                                    Hamilton Central            QLD 4007     Australia
 2.065    Unknown    Ekata                                   1301 5th Ave #1600                                                            Seattle            WA       98101        US
 2.066    Unknown    Elijah                                  111 N Wabash, Suite 2018                                                      Chicago            IL       60602        US
 2.067    Unknown    ePestSupply                             13661 Jupiter Rd Ste 301                                                      Dallas             TX       75238        US
 2.068    Unknown    Ersozyakobi                             (Unknown)
 2.069    Unknown    ETX Vape                                414 N. Commerce St                                                            Burleson           TX       76028        US
 2.070    Unknown    EurekaYa                                10200 David Taylor Dr                                                         Charlotte          NC       28262        US
 2.071    Unknown    EZ Organic                              15 Kendall Street                                                             Clyde              NSW      02142        Australia
 2.072    Unknown    Fashion & Limonade                      (Unknown)                                                                                                                            sales@fashionlimonade.com
 2.073    Unknown    Fizzypopization                         (Unknown)                                                                                                                            fizzypopization@gmail.com
 2.074    Unknown    Fleece Performance                      2400 Commerce Way                                                             Pittsboro          IN       46112        US
 2.075    Unknown    Foundermade                             579 Broadway, Unit 4A                                                         New York           NY       10012        US
 2.076    Unknown    FragranceOriginal                       24214 83rd Ave                                                                Bellerose          NY       11426        US
 2.077    Unknown    Framed Bikes                            200 S. Owasso Blvd. E                                                         St Paul            MN       55117        US
 2.078    Unknown    FTI Consulting, Inc.                    16701 Melford Blvd., Suite 200                                                Bowie              MD       20715        US
 2.079    Unknown    G and G Tools                           (Unknown)                                                                                                                            gandgsales96@gmail.com
 2.080    Unknown    Gains Everyday                          9200 NW 39th Ave                                 Ste 130 - 3025               Gainesville        FL       32606        US
 2.081    Unknown    Gallery Dept                            7613 Beverly Blvd                                                             Los Angeles        CA       90036        US
 2.082    Unknown    GiftPros                                2417 Jericho Tpke Ste 274                                                     Garden City        NY       11040        US
 2.083    Unknown    GitHub                                  88 Colin P Kelly Jr St                                                        San Francisco      CA       94107        US
 2.084    Unknown    Global Healing                          2040 North Loop West Ste. 234                                                 Houston            TX       77018        US
 2.085    Unknown    Gold Barr Jewelry                       (Unknown)                                                                                                                            alexianaustin@yahoo.com
 2.086    Unknown    Google Gsuite                           1600 Amphitheatre Parkway                                                     Mountain View      CA       94043        US
 2.087    Unknown    Grabitusa                               1246 Reamwood Ave                                                             Sunnyvale          CA       94089        US
 2.088    Unknown    Greenhouse Software                     18 W 18th Street, 9th Floor                                                   New York           NY       10011        US
 2.089    Unknown    Hammitt                                 2101 Pacific Coast Hwy                                                        Hermosa Beach      CA       90254        US
 2.090    Unknown    Handset Detection                       L 8 620 Little Bourke St                                                      Melbourne          VIC      3000         Australia
 2.091    Unknown    Helidirect                              8768 W State Road 236                                                         Middletown         IN       47356        US
 2.092    Unknown    Hellmuth & Johnson PLLC                 233 Broadway, Suite 2208                                                      New York           NY       10279        US
 2.093    Unknown    Highly Tuned Athletes                   579 Hampton St                                                                Hampton            VIC      03188        Australia
 2.094    Unknown    Higienis Indonesia                      Plaza Bank Index 7th Floor Suite-701             Jl. M.H. Thamrin Kav.57      Jakarta                     10350        Indonesia
 2.095    Unknown    Hoodrich Lifestyle                      Airbox Fulfilment 8 saxon way trading estate                                  Hardmondsworth              UB70LW       UK
 2.096    Unknown    House of Knives                         (Unknown)                                                                                                                            help@houseofknives.com.au
 2.097    Unknown    HSC Warranty                            305 Broadway Seventh, Floor                                                   NEW YORK           NY       10007        US
                                                                                                              Hicom Glenmarie Industrial
 2.098   Unknown     Hush Puppies                            Wisma Sulisam, No.5, Jalan U1/15                 Park Shah Alam               Selangor                    40150        Malaysia
 2.099   Unknown     Ingram Micro Global Services BV         Papendorpseweg 95                                                             Utrecht                     3528 BJ      Netherlands
 2.100   Unknown     Ingram Micro Inc                        3351 Michelson Drive                             Suite 100                    Irvine             CA       92612-0697   US
 2.101   Unknown     Injured Gadgets                         6141 Crooked Creek Rd                                                         Norcross           GA       30092        US
 2.102   Unknown     Inspirational outdoor Furniture         155-163 Balham Hill                                                           London                      SW129DJ      UK
 2.103   Unknown     Intercom                                KPMG Building, 55 2nd St 4th floor                                            San Francisco      CA       94105        US
 2.104   Unknown     IT Selection LTD d/b/a ITS European     Abbey House, Hickley's Court                     South Street, Farnam         Surrey                      GU97Q        UK
 2.105   Unknown     Jaime Aleph Andrews Flores              Address Redacted
 2.106   Unknown     Jfredette                               P.O. Box 2085                                                                 Chester            VA       23881        US
 2.107   Unknown     JustForMen                              1101 Westchester Ave W                                                        White Plains       NY       10604        US
 2.108   Unknown     Kantola Training Solutions              55 Sunnyside Avenue                                                           Mill Valley        CA       94941        US
 2.109   Unknown     Kaul Infotyche Solutions LLP            43 Residency Rd WeWork                                                        Bangalore                   560038       India
                                                                                                              Cengkareng Barat, Jakarta
 2.110   Unknown     Kay Collection                          Jl. Daan Mogot Km 14 No 1                        Barat                        Jakarta                     11730        Indonesia
 2.111   Unknown     Kreyòl Essence                          PO Box 900713                                                                 Homestead          FL       33090        US
 2.112   Unknown     LA Vinotheque                           202 Main St                                                                   Farmington         CT       06032        US
 2.113   Unknown     Lace Up NY                              1650 Pitkin Ave                                                               Brooklyn           NY       11207        US
 2.114   Unknown     Lattice                                 PO Box 207585                                                                 Dallas             TX       75320        US
                                                             c/o Sun Property Management                      6140 Brent Thurman Way Suite
 2.115   Unknown     LGC 231, LLC                            Attn: Susan Cotton                               140                          Las Vegas          NV       89148        US
 2.116   Unknown     LIKELY                                  5175 Suth Soto St                                                             Vernon, CA         CA       90058        US


In re: NS8 Inc.
Case No. 20-12702                                                                                            Page 2 of 5
                                                       Case 20-12702-CSS                      Doc 115             Filed 11/30/20
                                                                                                SCHEDULE G ATTACHMENT
                                                                                                                                             Page 46 of 50
                                                                                           Executory Contracts and Unexpired Leases


         Remainder
          of Term
   ID      (Days)                Notice Party's Name                          Address 1                                Address 2             City         State     ZIP       Country                   Email
 2.117    Unknown    Lily Jade                           23411 Hardy Oak Blvd#209                         #209                         San Antonio       TX     78258       US
 2.118    Unknown    Little Addiction                    (Unknown)                                                                                                          US            littleaddictionn@gmail.com
 2.119    Unknown    Logo Jeans                          (Unknown)                                                                                                          US
 2.120    Unknown    LonoLife                            1722 S. Coast Highway Suite 4                                                 Oceanside         CA    92054        US
 2.121    Unknown    Looma                               6190 Powers Ferry Road                           Suite 600                    Atlanta           GA    30339        US
 2.122    Unknown    Lost Lake Supplements               PO Box 3068                                                                   Arlington         WA    98223        US
 2.123    Unknown    Magento, Inc.                       345 Park Avenue                                                               San Jose          CA    95110-2704   US
 2.124    Unknown    MainGear                            206 Market St                                                                 Kenilworth        NJ    07033        US
 2.125    Unknown    Max Shine Car Care                  1470 Moonstone                                                                Brea              CA    92821        US
 2.126    Unknown    Maxmind                             14 Spring Street, 3rd Floor                                                   Waltham           MA    02451        US
 2.127    Unknown    Metadata Inc                        880 Harrison St, Suite 303C                                                   San Francisco     CA    94107        US
 2.128    Unknown    MFG Inc                             (Unknown)                                                                                                          US            paulnguyen2288@gmail.com
 2.129    Unknown    MFI Medical                         10695 Treena St                                                               San Diego         CA    92131        US
 2.130    Unknown    Michaels Jewelers                   1350 Main St.                                                                 Springfield       MA    01103        US
 2.131    Unknown    Mister SFC                          1375 E. Grand Ave #103, Box 242                                               Arroyo Grande     CA    93420        US
 2.132    Unknown    Mongo DB                            229 W. 43rd Street, 5th Floor                                                 New York          NY    10036        US
 2.133    Unknown    MOS Equipment                       (Unknown)                                                                                                                        info@mosequipment.com
 2.134    Unknown    Muebloom                            (Unknown)                                                                                                                        muebloom@gmail.com
 2.135    Unknown    Muffler Express LTD                 97 Milvan Dr                                                                  Toronto           ON    M9L1Z7       Canada
 2.136    Unknown    MyChoiceSoftware                    23706 Birtcher Drive                                                          Lake Forest       CA    92630        US
 2.137    Unknown    MyMedic                             120 North Redwood Road                                                        North Salt Lake   UT    84054        US
 2.138    Unknown    National Ropers Supply              188 County Road 4226                                                          Decatur           TX    76234        US
 2.139    Unknown    Natural Genius                      1755 N. Brown Road, Ste 200                                                   Lawrenceville     GA    30043        US
 2.140    Unknown    Nectar Sleep                        100 Avebury Boulevard                                                         Milton Keynes           MK91FH       UK
 2.141    Unknown    Nerd Stuff                          (Unknown)                                                                                                                        nerdstuffstore82@gmail.com
 2.142    Unknown    NEWA                                EndyMed Medical Inc.                             4400 Route 9 South           Freehold          NJ    07728        US
 2.143    Unknown    Ngrok                               237 A St #26741                                                               San Diego         CA    92101        US
                                                                                                          10620 Southern Highlands
 2.144   Unknown     No High                             NH Naturals LLC                                  Pkwy Suite 110-386           Las Vegas         NV    89141        US
 2.145   Unknown     Noetic                              7640 Northwest 25th Street                                                    MiamI             FL    33122        US
 2.146   Unknown     NPMJS                               1999 Harrison Street, Suite #1150                                             Oakland           CA    94612        US
 2.147   Unknown     Ocean Nail Supply                   14908 Gwenchris Court                                                         Paramount         CA    90723        US
 2.148   Unknown     Organic Hemp                        2040 N Loop W                                    Suite 234                    Houston           TX    77018        US
 2.149   Unknown     Organicskincare                     (Unknown)                                                                                                                        admin@organicskincare.com
 2.150   Unknown     Packagist                           c/o Packagist Conductors UG - EUR                Friedrichstr. 123            Berlin                  10117        Germany
 2.151   Unknown     Pandora Las Vegas                   115 Festival Plaza Drive # 150                                                Las Vegas         NV    89135        US
 2.152   Unknown     Payment & Cards Network BV          Keizersgracht 477B                                                            Amsterdam               1017DL       Netherlands
 2.153   Unknown     Phone2Go                            (Unknown)                                                                                                                        info@phone2go.it
 2.154   Unknown     PrestaShop Inc                      175 SW 7th St                                    Suite 2009                   Miami             FL    33130        US
 2.155   Unknown     Primera Technology                  2 CARLSON PARKWAY N                                                           Plymouth          MN    55447        US
 2.156   Unknown     Primeval Labs                       416 Barnett Dr                                                                Batesville        AR    72501        US
 2.157   Unknown     Quickbooks                          2632 Marine Way                                                               Mountain View     CA    94043        US
 2.158   Unknown     R&R Outdoor Survival                (Unknown)                                                                                                                        robbie@rnroutdoorsurvival.om
 2.159   Unknown     Race Car Tools                      2037 NW 27th Avenue                                                           MiamI             FL    33142        US
 2.160   Unknown     RacquetGuys.com                     7400 Victoria Park Ave Unit 5                                                 Markham           ON    L3R2V4       Canada
 2.161   Unknown     Rapid Medical                       1355 Shotgun Road                                                             Sunrise           FL    33326        US
 2.162   Unknown     Red Social                          (Unknown)                                                                                                                        hello@redsocial.com
 2.163   Unknown     Reeds Family Outdoor Outfitters     522 Minnesota Ave W                                                           Bemidji           MN    56484        US
 2.164   Unknown     RemoteLock                          2170 South Delaware St.                                                       Denver            CO    80223        US
 2.165   Unknown     Renaissance                         225 South East Street, Ste. 360                                               Indianapolis      IN    46202        US
 2.166   Unknown     Rent the Jewelry                    5850 Hollister Ave                                                            Goleta            CA    93117        US
 2.167   Unknown     RGB Halo Kits                       (Unknown)                                                                                                                        INFO@RGBHALOKITS.COM
 2.168   Unknown     Riot Society Clothing               2529 Chambers Street                             Unit A                       Vernon            CA    90058        US
 2.169   Unknown     Rivero Consulting LLC               2515 McKinney Ave                                Suite 1200                   Dallas            TX    75201        US
 2.170   Unknown     RJs Trains                          (Unknown)                                                                                                                        Robert.Mendez@RJsTrains.com
                                                                                                          Jalan Sultan Iskandar Muda
                                                                                                          Kav V-TA, RT5/RW3 Pondok
 2.171   Unknown     Royal Canin Indonesia               Pondok Indah Office Tower 3 Lt. 8 Suite 803      Pinang, Kebayoran Lama       Jakarta                 12310        Indonesia
 2.172   Unknown     Rude American                       2675 Patrick Lane #6                                                          Las Vegas         NV    89120        US
 2.173   Unknown     Sales Signature EURL                66, Avenue des Champs Elysées                                                 Paris                   75008        France
 2.174   Unknown     Salesforce.com                      Attn:Kevin Penta                                 5 Wall St                    Burlington        MA    01803        US


In re: NS8 Inc.
Case No. 20-12702                                                                                        Page 3 of 5
                                                          Case 20-12702-CSS                      Doc 115            Filed 11/30/20
                                                                                                  SCHEDULE G ATTACHMENT
                                                                                                                                               Page 47 of 50
                                                                                             Executory Contracts and Unexpired Leases


         Remainder
          of Term
   ID      (Days)          Notice Party's Name                               Address 1                                   Address 2             City        State       ZIP        Country                  Email
 2.175    Unknown SAP America Inc.                          SAP Canada111, Boulevard Robert-Bourassa                                     Montreal                  H3C 2M1      Canada
                                                                                                            RT.2/RW.7, Kby. Lama Sel.,
 2.176   Unknown    Sesa Indonesia                          Jl. Sultan Iskandar Muda Jl Komp Kostrad        Kec. Kby. Lama, Kota         Jakarta                   12240        Indonesia
 2.177   Unknown    Shield GEO Services Limited of 2003     33 Canton Road, Tsim Sha Tsui                   20/F, Tower 5                Hong Kong                              China
 2.178   Unknown    Shop Luxury                             (Unknown)                                                                                                                         info@shopluxury.com
 2.179   Unknown    Shop Softwares                          290 Davidson Avenue                                                          Somerset          NJ      08873        US
 2.180   Unknown    Shopify Commerce Singapore Pte LTD      627 Broadway 9th Floor                                                       New York          NY      10012        US
 2.181   Unknown    Silkn.com                               2815 Forbs Ave                                  Suite 107                    Hoffman Estates   IL      60192        US
 2.182   Unknown    Simply Bed                              (Unknown)                                                                                                                         DNC
 2.183   Unknown    Slumberpod                              (Unknown)                                                                                                                         contact@slumberpod.com
 2.184   Unknown    SM22 Informatica Ltda.                  Rua Coreia 400 BL 3-43                                                       Santo Andre               09280--140   Brazil
 2.185   Unknown    Software Destination                    401 E Jackson St Ste 2340                                                    Tampa             FL      33602        US
 2.186   Unknown    Starinmyheart                           2439 200th Ave                                                               Mora              MN      55051        US
 2.187   Unknown    Stretto                                 410 Exchange, Suite 100                                                      Irvine            CA      92602        US
 2.188   Unknown    Stripe                                  510 Townsend St                                                              San Francisco     CA      94103        US
 2.189   Unknown    Supermarket Italy                       1275 Valley Brook Ave                                                        Lyndhurst         NJ      07071        US
 2.190   Unknown    SuperPlastic                            688 Pine Street 2A                                                           Burlington        VT      05401        US
 2.191   Unknown    SureFit                                 8000 Quarry Rd                                                               Alburtis          PA      18011        US
 2.192   Unknown    Swoonery                                587 5th Ave                                                                  New York          NY      10017        US
 2.193   Unknown    TDP Recruiters LLC                      17608 River Ford Drive                                                       Davidson          NC      28036        US
 2.194   Unknown    TeamBonding Inc                         18 Washington Street, #200                                                   Canton            MA      02021        US
 2.195   Unknown    Tech Delight UK                         86-90 Paul Street                                                            London                    EC2A4NE      UK
 2.196   Unknown    Telesign                                13274 Fiji Way                                  Suite 600                    Marina del Rey    CA      90292        US
 2.197   Unknown    Tenacious Toys                          1483 York Ave Box #20413                                                     New York          NY      10075        US
 2.198   Unknown    Texas Time Gifts and Fine Art           13359 North Highway 183, #406-310                                            Austin            TX      78750        US
 2.199   Unknown    The Bean Coffee Company                 1722 South Coast Highway, Suite 4                                            Oceanside         CA      92054        US
 2.200   Unknown    The Coin Shop                           9937 E Grand Riv Ave                                                         Brighton          MI      48116        US
 2.201   Unknown    The Pump Warehouse                      3880 Redwood Avenue                                                          Grants Pass       OR      97527        US
 2.202   Unknown    The Tech Den                            2/28 Piper St                                                                Caboolture        QLD     04510        Australia
 2.203   Unknown    TheCarryPack                            (Unknown)                                                                                                                         thecarrypack@gmail.com
 2.204   Unknown    Theory11                                (Unknown)                                                                                                                         jb@theory11.com
 2.205   Unknown    ThirtyBees                              Perry A. Craft                                  402 BNA Dr., Suite 202       Nashville         TN      37027        US
 2.206   Unknown    Timarco                                 1805 Flamingo Place                                                          Deerfield Beach   FL      33442        US
 2.207   Unknown    Tools Direct                            1451 Woodruff Rd, Ste S                                                      Greenville        SC      29607        US
 2.208   Unknown    Tribal Hollywood                        1615 Wilcox Ave                                 #3030                        Los Angeles       CA      90028        US
 2.209   Unknown    Trinet Group, Inc.                      One Park Place, Suite 600                                                    Dublin            CA      94568        US
 2.210   Unknown    TSS Outfitters, LLC                     362 N Main                                                                   Tooele            UT      84074        US
 2.211   Unknown    Tuff Stuff 4X4                          2205 S Wright St                                                             Santa Ana         CA      92705        US
 2.212   Unknown    Twilio                                  645 Harrison Street                                                          San Francisco     CA      94107        US
 2.213   Unknown    Udemy, Inc.                             600 Harrison Street                                                          San Francisco     CA      94107        US
 2.214   Unknown    Used Mobiles 4U                         631 Birchwood Blvd                                                           Warrington                WA3 7QU      UK
 2.215   Unknown    Vanson Leathers, Inc                    951 Broadway                                                                 Fall River        MA      02724        US
 2.216   Unknown    Vargus Turbocharger Technologies        22035 Meekland Ave                                                           Hayward           CA      94541        US
 2.217   Unknown    Varier Furniture                        2125 32nd St                                                                 Boulder           CO      80301        US
 2.218   Unknown    Veil Cosmetics                          525 W. 52nd Street                                                           New York          NY      10019        US
 2.219   Unknown    Verifi                                  8391 Beverly Blvd., Box #310                                                 Los Angeles       CA      90048        US
 2.220   Unknown    ViX Swimwear                            5620 Kearny Mesa Rd                                                          San Diego         CA      92111        US
 2.221   Unknown    Watercare                               Jl. AIP II K.S. Tubun Raya No 77                                             Jakarta                   11410        Indonesia
 2.222   Unknown    Weide & Miller, LTD                     10655 Park Run Drive                                                         Las Vegas         NV      89144        US
 2.223      65      WeWork - Amsterdam                      Weesperstraat 61-105                                                         Amsterdam         AM      1018VN       Netherlands
 2.224     124      WeWork - Melbourne Australia            401 Collins Street                                                           Melbourne         VIC     1018VN       Australia
 2.225      65      WeWork - Miami                          360 NW 27th Street                                                           Miami             FL      33127        US
 2.226     124      WeWork - San Francisco                  3001 Bishop Drive Tenant LLC                    3001 Bishop Drive            San Ramon         CA      95483        US
 2.227     216      WeWork - Singapore Pte. Ltd             15 Beach Road, 2nd Floor                                                     Singapore                              Singapore
 2.228   Unknown    WhitePages Inc                          1301 Fifth Avenue                               Suite 1600                   Seattle           WA      98101        US
 2.229   Unknown    Woo Commerce                            60 29th St #343                                                              San Francisco     CA      94110        US
 2.230   Unknown    WRP Indonesia                           700 Massillon Road #340                                                      Uniontown         OH      44685        US
 2.231   Unknown    X.commerce Inc d/b/a Magento            345 Park Avenue                                                              San Jose          CA      95110        US
 2.232   Unknown    Xactly                                  9225 Bee Cave Road                              Building A, Suite 100        Austin            TX      78733        US
 2.233   Unknown    Zarkoperfume                            VAT 35535505                                                                 Hornbaek                  03100        Denmark
 2.234   Unknown    Zephyr Epic                             8065 130 St                                                                  Surrey            BC      V3W 7X4      Canada


In re: NS8 Inc.
Case No. 20-12702                                                                                          Page 4 of 5
                                                       Case 20-12702-CSS                  Doc 115            Filed 11/30/20
                                                                                            SCHEDULE G ATTACHMENT
                                                                                                                                        Page 48 of 50
                                                                                       Executory Contracts and Unexpired Leases


         Remainder
          of Term
   ID      (Days)                Notice Party's Name                       Address 1                               Address 2             City    State       ZIP     Country   Email
 2.235    Unknown    Zippo.com                           33 Barbour St                                                            Bradford      PA       16701     US
 2.236    Unknown    ZJ Outfitters                       762 W 41st St                                                            Miami         FL       33140     US
 2.237    Unknown    Znet Flooring                       10161 Park Run Dr                            Ste 150                     Las Vegas     NV       89145     US
 2.238    Unknown    ZombieApocalypZ                     775 Sunrise Ave #230                                                     Roseville     CA       95661     US




In re: NS8 Inc.
Case No. 20-12702                                                                                    Page 5 of 5
                                         Case 20-12702-CSS                      Doc 115             Filed 11/30/20                Page 49 of 50

  Fill in this information to identify the case:

  Debtor name: NS8 Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                                        Check if this is an
  Case number: 20-12702
                                                                                                                                                                        amended ¦ling


O¨cial Form 206H
Schedule H: Codebtors
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.

1. Does the debtor have any codebtors? ½ ½ ½

    No. Check this box and submit this form to the court with the debtor’s other schedules. Nothing else needs to be reported on this form.

    Yes


2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one
creditor, list each creditor separately in Column 2. ½ ½ ½

 Column 1: Codebtor                                                                                 Column 2: Creditor


 Name                                Mailing Address                                                Name                                                              Check all schedules
                                                                                                                                                                      that apply:

2.1 ½                                                                                                                                                                      D

                                                                                                                                                                           E/F

                                                                                                                                                                           G
                                    Case 20-12702-CSS                        Doc 115    Filed 11/30/20              Page 50 of 50

  Fill in this information to identify the case:

  Debtor name: NS8 Inc.

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                   Check if this is an
  Case number: 20-12702
                                                                                                                                                   amended ¦ling


O¨cial Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in ¦nes up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  I am the president, another o¨cer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.
  ½
  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:
  ½

       Schedule A/B: Assets–Real and Personal Property (O¨cial Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (O¨cial Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (O¨cial Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (O¨cial Form 206G)

       Schedule H: Codebtors (O¨cial Form 206H)

       Summary of Assets and Liabilities for Non-Individuals (O¨cial Form 206Sum)

       Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (O¨cial Form 204)

       Other document that requires a

  declaration

I declare under penalty of perjury that the foregoing is true and correct.

11/30/2020                                                                             /s/ Lee Sweigart

Executed on                                                                            Signature of individual signing on behalf of debtor
                                                                                       Lee Sweigart

                                                                                       Printed name
                                                                                       Deputy Chief Restructuring O¨cer

                                                                                       Position or relationship to debtor
